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   8                             UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
  11   MARY AMADOR, et al.,                    Case No. CV 10-01649 SVW (JEMx)

  12               Plaintiffs,                 [Honorable Stephen V. Wilson]
  13                                           [PROPOSED AMENDED]
             vs.                               PRELIMINARY APPROVAL ORDER;
  14
                                               EXHIBITS
       SHERIFF LEROY D. BACA, etc., et al.,
  15
                                               Date: _____December 2, 2019
  16                                           Time: ___ _1:30 P.M._
                   Defendants.                 Place:     Courtroom 10A__
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   1          The parties have submitted this joint Preliminary Approval Order of the
   2   Class Settlement for the Court’s review, including the following exhibits: the
   3   Executed, Revised Settlement Agreement (Exhibit A hereto) (the “Revised
   4   Settlement Agreement”), the Red-Lined Draft Revised Settlement Agreement
   5   (Exhibit B hereto), the amended Class Notice (Exhibit C hereto), the Claim Form
   6   (Exhibit D hereto),and the Class Administrator bid (Exhibit E hereto). Counsel for
   7   the parties, who signed the Revised Settlement Agreement, represent that their
   8   respective clients have approved the settlement.
   9          The Named Plaintiffs/Class Representatives are Mary Amador, Lora
  10   Barranca, Diana Paiz, Diane Vigil, Alisa Battiste, Felice Cholewiak, Evangelina
  11   Madrid, Myeshia Williams, and Nancy Briseño. Plaintiffs are former (or current at
  12   the time of the filing of the complaint) inmates of the Los Angeles Sheriff’s
  13   Department’s (“LASD”) women’s jail known as Century Regional Detention
  14   Facility (hereafter “CRDF”). Plaintiffs contended that the LASD routinely
  15   subjected female inmates to highly invasive body cavity inspections, in large
  16   groups (often over 40 women), without individual privacy, and despite the absence
  17   of a penological justification and the ready availability of alternatives, in violation
  18   of the Fourth Amendment. The Court granted summary judgment on liability. See
  19   Dkt. 361. The Defendants are the County of Los Angeles, the Los Angeles County
  20   Sheriff’s Department, former Los Angeles County Sheriff Leroy Baca, and various
  21   individual members of the LASD.
  22          While Defendants continue to dispute the validity of Plaintiffs’ allegations,
  23   the parties have agreed to enter into this Settlement Agreement to avoid the mutual
  24   risks of litigation.
  25          IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
  26
       I.       PRELIMINARY APPROVAL OF SETTLEMENT
  27
              1.     This Order incorporates by reference the definitions in the Settlement
  28
       Agreement, a copy of which is attached to this Order as Exhibit A, and also
                                                  1
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   1   incorporates Exhibits C through E to this Order (which are described above). All
   2   terms defined therein shall have the same meaning in this Order.
   3         2.      The Settlement Agreement, as revised, is hereby preliminarily
   4   approved, subject to further consideration thereof at the Fairness Hearing provided
   5   for below. The Court finds that the non-reversionary class settlement fund of
   6   $53,000,000 and its proposed allocation, and the other provisions contained within
   7   the Settlement Agreement, are within the range of what would constitute a fair,
   8   reasonable, and adequate settlement in the best interests of the Class as a whole,
   9   and that the terms of the Settlement Agreement otherwise satisfy the Federal Rules
  10   of Civil Procedure 23(e) and due process requirements.
  11   II.    DEADLINES FOR NOTICE, FILING OBJECTIONS AND OPT-
  12          OUTS, AND DATE OF FAIRNESS HEARING
  13         3.      The Court has set the following dates for purposes of this class action:
  14              (a) Final class identifying information, to the extent not already provided,
  15                 will be provided to Class Administrator JND Legal Administration no
  16                 later than Monday, December 2, 2019;
  17              (b) Friday, December 6, 2019: Class member website shall be updated to
  18                 reflect preliminary approval order and to permit class members to
  19                 submit claims online;
  20              (c) Monday, January 6, 2020 (or earlier): First round of class notice: first-
  21                 class mail to all class members except those for whom the Claims
  22                 Administrator has both an email address and mobile phone number
  23                 (in which case the class member will receive notice by mail and text);
  24              (d) Monday, January 6, 2020 (or earlier): summary publication in Prison
  25                 Legal News (a publication widely distributed to inmates throughout
  26                 the country) and begin selective social media/online outreach directly
  27                 targeting class members’ Facebook and/or Instagram accounts;
  28              (e) Monday, January 6, 2020 (or earlier): signage posted at CRDF and
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   1                Twin Towers advising inmates of settlement and how to make a
   2                claim; claim forms available to all detainees at these facilities;
   3             (f) Thursday, February 6, 2020: Notice by regular mail to all class
   4                members who were initially notified by electronic means only (those
   5                who received notice by email and text) and who have not yet
   6                submitted claim forms along with the explanation that they were sent
   7                such electronic notice but this notice is being sent as well because
   8                they did not file a claim or exclude themselves from the settlement;
   9             (g) Thursday, February 6, 2020: The Class Administrator will begin
  10                periodically reminding class members through email/text blasts to file
  11                claims;
  12             (h) Monday, February 10, 2020: Filing of Plaintiffs’ Motion for Award of
  13                Attorneys’ Fees and Costs;
  14             (i) Thursday, June 4, 2020: Deadline to file Class Members’ Objections
  15                to any aspect of the Settlement (including Plaintiffs’ Motion for
  16                Award of Attorneys’ Fees and Costs): Must be postmarked or
  17                received by that date;
  18             (j) Thursday, June 4, 2020: Deadline to opt-out: Must be postmarked or
  19                received by that date;
  20             (k) Thursday, June 4, 2020: Deadline to file class claims: Must be
  21                postmarked or received by that date;
  22             (l) Monday, July 6, 2020: Deadline to file Opposition or Reply to
  23                Objections (including to objections to award of attorneys’ fees and
  24                costs);
  25             (m)      Monday, July 6, 2020: Deadline to file proposed final approval
  26
                    order and motion for final approval of settlement;
  27
                 (n) Monday, July 20, 2020: Final Approval hearing.
  28
            4.      In the event that the class notice process does not by January 6, 2020,
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   1   as provided above, the subsequent dates contained herein will be deferred for the
   2   number of additional days before such notice occurs without the need for
   3   additional Court approval. However, the Court must approve any change of the
   4   date of the Final Approval Hearing.
   5          5.      If the number of Opt Outs amounts to 250 or more, Defendants shall
   6   have the option of withdrawing from the settlement.
   7          6.      The Parties have identified exclusively from Los Angeles County Jail
   8   records Damages Class Members based on who was housed at CRDF and the
   9   times and days they were strip/visual body cavity searched during the damages
  10   period. Only persons so identified are Damages Class members.
  11          7.      The “Class Damages Period” refers to the period between March 5,
  12   2008 (two years before the filing of the complaint) and January 1, 2015 (the date
  13   scanners or privacy partitions were available for all CRDF strip searches).
  14   III.    SETTLEMENT TERMS.
  15          8.      In summary, the settlement’s basic terms, as they relate to Damages
  16   Class Members, are that Defendants will provide payment of a total of Fifty-Three
  17   Million dollars ($53,000,000) equally spread over a three-year period into a Class
  18   Fund. From that amount, the following awards will be made, subject to court
  19   approval:
  20          a. Incentive awards to the 9 Named Plaintiffs in the amount of $10,000 each
  21               (for a total of $90,000).
  22          b. Payment of the third-party class settlement administration costs to the
  23
                   chosen class administrator, JND Legal Administration, estimated at a
  24
                   maximum of approximately $464,000 for a claims rate of up to 33%
  25
                   (which, based on counsel’s experience in Jail cases, is substantially
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                   higher than the expected claims rate.) However, depending on the
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                   response rate to the notice, Plaintiffs’ counsel may request that JND do
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                   greater outreach, which would increase the cost.
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   1            c. Plaintiffs will file a motion for attorney’s fees and costs to be approved
   2                  by the court. The settlement agreement provides that Plaintiffs’ counsel
   3                  may request up to 1/3 of the class fund but not more, plus reimbursement
   4                  of litigation costs. The final determination of the appropriate attorney’s
   5                  fee will be made by the Court.
   6            d. The remainder of the Class Fund (estimated as a minimum of slightly
   7                  under $34 Million) shall be distributed to the class members (including
   8                  Named Plaintiffs/Class Representatives) under a formula contained in ¶¶
   9                  5-13 of the Settlement Agreement (Exhibit A to the proposed Preliminary
  10                  Approval Order), particularly ¶ 7.
  11            9.       The distribution formula awards a certain number of points for each
  12   strip/visual body cavity search. The number of points per search ranges between
  13   70 – 100, based on the time period in which the search occurred. The points vary
  14   according to time period because the invasiveness of the search conditions varied
  15   over time, with the worst conditions occurring prior to July 2011. Each search
  16   conducted at a temperature of 70 degrees or less receives an additional 10-points.
  17   The per-search points are assigned to each class member, up to their 50th search.1
  18   This cap is to ensure that outliers who have outsized claims do not distort the
  19   meaningfulness of the recovery to the remaining class members. (Such outliers
  20   would be entitled to opt out and pursue their own claims if they so chose.)
  21            10.      Once the claims period closes, the claims administrator will calculate
  22   the total points for each class member and total points for all claiming class
  23   members who submitted timely claims. Each class member’s recovery will be
  24   determined based on that class member’s percentage of the total points for all class
  25   members.
  26            11.      Despite the foregoing, no class member who qualifies for payment
  27   will receive less than a total of $200. (This minimum payment amount would
  28
       1
           The “50-search cap” applies to less than .04% of the class.
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   1   apply only in the event of an unexpectedly high claims rate).
   2         12.     The Class Fund is non-reversionary. However, to ensure that there is
   3   not a windfall to claiming class members in the event of a very low claims rate,
   4   there will be a donation to cy pres organizations to be agreed on to the extent that
   5   the total value of claims is less than the agreed upon “Minimum Remainder” of
   6   $31 Million. The value of the claims for purposes of this provision is based on the
   7   following chart. The Court has reservations about this provision that will be
   8   addressed, if necessary, at the Final Approval Hearing and in the Final Approval
   9   Order.
  10                                 CY PRES FORMULA
  11                 # SEARCHES                                AMOUNT
                     1-3                                       $5,000
  12
                     4-6                                       $10,000
  13                 7-10                                      $15,000
  14                 11+                                       $20,000
       IV.         CLASS ADMINISTRATOR
  15
             13.     The Court approves the retention of JND Legal Administration
  16
       (“JND”) as Class Administrator, to administer the distribution of the Class and
  17
       Settlement Notice and publication of the Class and Settlement Notice, and to
  18
       distribute the proceeds of the settlement to all eligible Class Members pursuant to
  19
       the Plan set out in the Settlement Agreement (Exhibit A) should the Court grant
  20
       final approval. Exhibit E (the Class Administrator bid) includes the qualifications
  21
       of JND, which establishes to the Court’s satisfaction the qualifications of JND to
  22
       act as the Class Administrator.
  23
             14.     The Class Administrator shall preserve all written communications
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       from Class Members in response to the Class and Settlement Notice at least until
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  26
       December 31, 2023, or pursuant to further order of the Court. All written

  27
       communications received by the Class Administrator from Class Members relating

  28
       to the Settlement Agreement shall be available at all reasonable times for

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   1   inspection and copying by Counsel for the Parties, and copies shall be regularly
   2   provided to Counsel for the Parties.
   3         15.     The Class Administrator shall be compensated from the Class
   4   Damages Fund for its services in connection with notice and administration and
   5   for the costs of giving mailed and published notice, and the other services it
   6   performs, pursuant to such orders as the Court may enter from time to time.
   7         16.     Within two weeks after this Preliminary Approval Order is signed by
   8   the Court, the County of Los Angeles shall deposit or cause to be deposited into an
   9   account designated by the Class Administrator by check sent by overnight mail an
  10   amount of same day available funds equal to the amount requested by the Class
  11   Administrator to cover the costs of notice as provided herein, and will provide
  12   additional funds for its administrative work pursuant to the terms of its accepted
  13   bid, a copy of which is attached as Exhibit E. Prior to entry of the Final Order of
  14   Approval of Settlement, the Class Administrator will not accrue any costs not
  15   itemized in Exhibit E unless agreed to by the Plaintiffs’ counsel and approved by
  16   the Court. If the Court does not enter the Final Order of Approval and Settlement,
  17   then all such funds paid to the Class Administrator, to the extent they are available
  18   after payment of all accrued class administration expenses, shall be returned to
  19   Defendants.
  20         17.     If this settlement does not go through for any reason, a new settlement
  21   is not reached, the case goes to trial, and Plaintiffs are not successful in their
  22   prosecution of the case, Defendants shall not seek reimbursement from Plaintiffs
  23   of class administration funds paid under this settlement.
  24   V.          CLASS COUNSEL
  25
             18.     Barrett S. Litt and Lindsay Battles of Kaye, McLane, Bednarski & Litt
  26
       are hereby confirmed as counsel for the Class Representatives and the Class
  27
       (“Class Counsel”).
  28
             19.     Class Counsel are authorized to act on behalf of the Class with respect
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   1   to all acts or consents required by or which may be given pursuant to the
   2   Settlement, and such other acts reasonably necessary to consummate the
   3   Settlement.
   4   VI.         CLASS AND SETTLEMENT NOTICE
   5         20.     Class Counsel shall provide the Class and Settlement Notice to the
   6   Class Administrator for distribution according to the schedule set forth above.
   7   Such notice shall be in substantially the form as proposed in the amended class
   8   notice, (Exhibit C to this order) and shall be communicated as provided in ¶ 3(b)
   9   and (c) above (providing for both text message, email and regular mail notice);
  10   returned mail shall be subject to follow up mailings after appropriate searches of
  11   the available databases. No notice by publication shall be required because such
  12   notice has not proven effective at reaching class members, and the resources are
  13   better spent on attempting to reach class members through electronic email and
  14   other means of electronic outreach. See revisions to F.R.Civ.P 23 (c)(2)(B)
  15   effective December 2019 (acknowledging that notice “may be by … electronic
  16   means, or other appropriate means” in addition to or in lieu of United States
  17   mail).
  18         21.     Defendants represent that they have already provided the name,
  19   address, social security number, date of birth, driver's license information, and any
  20   other identifying information of Damages Class Members, to Plaintiffs’ counsel,
  21   who will transmit it to the Class Administrator. Such information shall be
  22   confidential and may not be disclosed to anyone except counsel of record, the
  23   Class Administrator, and designated representatives of Defendants. Should the
  24   Defendants discover at any time any additional information containing relevant
  25
       class information, they shall promptly provide it to Plaintiffs’ counsel and the
  26
       Class Administrator.
  27
             22.     At least seven days before the Fairness Hearing, Class Counsel and/or
  28
       the Class Administrator shall serve and file a sworn statement by the Class
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    1   Administrator attesting to compliance with the provisions of this Order governing
    2   Class and Settlement Notice. This shall include a list of all people who have opted
    3   out of the class.
    4          23.   The Court approves the amended Class and Settlement Notice
    5   attached as Exhibit C.
    6          24.   The Court approves the Claim Form attached as Exhibit D.
    7          25.   The Court approves the Class Administrator Bid attached as Exhibit
    8   E.
    9          26.   The Court finds that the notice required by the foregoing provisions of
   10   this Order is the best notice practicable under the circumstances and shall
   11   constitute due and sufficient notice of the Settlement and the Fairness Hearing to
   12   all Class Members and other persons affected by and/or entitled to participate in
   13   the settlement, in full compliance with the notice requirements of Rule 23 Federal
   14   Rules of Civil Procedure and due process.
   15   VII.    THE FAIRNESS HEARING
   16          27.   A Fairness Hearing shall be held on September 30, 2019, to consider:
   17   (a) the fairness, reasonableness, and adequacy of the Settlement; (b) whether a
   18   Final Order of Approval and Settlement should be entered in its current or some
   19   modified form; and (c) the application by Class Counsel for attorneys’ fees and
   20   expenses (the “Fee Motion”).
   21          28.   At least two weeks prior to the Fairness Hearing, Plaintiffs shall
   22   submit a proposed Final Approval Order, which shall be approved by Defendants.
   23   That proposed order will contain the final provisions the Parties seek the Court to
   24   finally approve and the Parties’ proposed court orders related to any objections
   25
        that have been filed. It will not be necessary to file a separate motion for final
   26
        approval.
   27
               29.   The date and time of the Fairness Hearing shall be set forth in the
   28
        Class and Settlement Notice but shall be subject to adjournment by the Court
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    1   without further notice to the Class Members other than that which may be posted
    2   at the Court and on the Court’s web site.
    3         30.    Any Class Member who objects to the approval of the Settlement
    4   Agreement, the Fee Motion, the Named Plaintiffs’ incentive awards or the
    5   proposed allocation of damages among class members may appear at the Fairness
    6   Hearing and show cause why any one of the foregoing should not be approved as
    7   fair, reasonable, and adequate, and why the Final Order of Approval and
    8   Settlement should not be entered, except that no such Class Member may appear at
    9   the Fairness Hearing unless the Class Member, no later than August 21, 2019 [the
   10   date to file objections to the Settlement] (a) files with the Clerk of the Court a
   11   notice of such person’s intention to appear, a statement that indicates the basis and
   12   grounds for such person’s objection to the Settlement Agreement, the Fee Petition,
   13   the Named Plaintiffs’ incentive awards or the proposed allocation of damages
   14   among class members, and all documentation, papers, or briefs in support of such
   15   objection; and by the same date (b) serves upon all Counsel to the Parties (as listed
   16   in the Class Notice), either in person or by mail, copies of such notice of intention
   17   to appear, statement of objections and all documentation, papers, or briefs that
   18   such person files with the Court. The required documentation shall include the
   19   information requested on the Claim Form. Final determination of whether any
   20   such objector is a Class Member who has standing to object shall be determined
   21   solely from the Defendants’ records, from which the list of Class Members has
   22   been compiled. In the absence of the timely filing and timely service of the notice
   23   of intention to appear and all other materials required by this paragraph, any
   24   objection shall be deemed untimely and denied.
   25         31.    Pending final approval of the Settlement Agreement, no Class
   26
        Member shall, either directly, representatively, or in any other capacity,
   27
        commence, prosecute against any Defendant or participate in any action or
   28
        proceeding in any court or tribunal asserting any of the matters, claims, or causes
                                                  10
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    1   of action that are to be released by the Settlement Agreement upon final approval.
    2           32.   In the event of final approval of the Settlement Agreement, all
    3   Damages Class Members (except those who have opted out) shall be forever
    4   enjoined and barred from asserting any of the matters, claims or causes of action
    5   released by the Settlement Agreement, and all such Class Members shall be
    6   deemed to have forever released any and all such matters, claims and causes of
    7   action as provided for in the Settlement Agreement.
    8   VIII.    OTHER PROVISIONS
    9           33.   The Court approves the parties’ plan to use text messages to both
   10   issue class notice and reminder messages for those class members for whom the
   11   Claims Administrator is able to locate mobile phone numbers. In sending notice
   12   and reminders via text, recipients shall have the ability to “unsubscribe”
   13   themselves from further messages.
   14           34.   To the extent not otherwise specifically addressed in this Order,
   15   Defendants and Class Counsel shall comply with the provisions of the Settlement
   16   Agreement.
   17           35.   In the event the Settlement is not finally approved or is otherwise
   18   terminated in accordance with the provisions of the Settlement Agreement, the
   19   Settlement and all proceedings had in connection therewith shall be null and void,
   20   except insofar as expressly provided to the contrary in the Settlement Agreement,
   21   and without prejudice to the status quo ante rights of Plaintiffs, Defendants, and
   22   Class Members.
   23
   24   DATED: ______________                   ____________________________________
                                                STEVEN V. WILSON
   25
                                                UNITED STATES DISTRICT JUDGE
   26
   27
   28

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    1
    2   SUBMITTED BY:
    3   KAYE, McLANE, BEDNARSKI & LITT
        ACLU FOUNDATION OF SOUTHERN CALIFORNIA
    4
    5
        By: __ /s/ Barrett S. Litt
    6          Barrett S. Litt
    7          Attorneys for Plaintiffs
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                                                            Exhibit A
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                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
      MARY AMADOR, et al.,                              Case No. CV 10-01649 SVW (JEMx)

                   Plaintiffs,                          [Honorable Stephen V. Wilson]

            vs.                                         SETTLEMENT AGREEMENT

      COUNTY OF LOS ANGELES, et al.,

                   Defendants.




            Plaintiffs Mary Amador, Lora Barranca, Diana Paiz, Diane Vigil, Alisa
      Battiste, Felice Cholewiak, Evangelina Madrid, Myeshia Williams, and Nancy
      Briseño (individually and on behalf of the classes previously certified in this case
      (see, Doc. No. 327) (collectively “Plaintiffs”) and Defendants County of Los
      Angeles (“the County”), the Los Angeles Sheriff’s Department, its prior Sheriff,
      Leroy Baca, and Sammy Jones, Timothy Cornell, John H. Clark, Stacey Lee,
      Dennis Burns, Gerald K. Cooper and Daniel Cruz (collectively “Defendants”), by
      and through their respective counsel, hereby submit the following Settlement
      Agreement (“Settlement Agreement”). Plaintiffs and Defendants are referred to
      collectively herein as “the Parties.”
                                                    1
                                 AMADOR CLASS ACTION SETTLEMENT AGREEMENT
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                                       I.     RECITALS
            Plaintiffs are former inmates at the Century Regional Detention Facility
      (“CRDF”), a jail facility operated by the Los Angeles County Sheriff’s Department
      (“LASD”), which houses female convicted inmates and pretrial detainees.
            Plaintiffs filed this action in the United States District Court for the Central
      District of California (“Court”) on behalf of themselves and a class of similarly
      situated inmates on March 5, 2010.
            Plaintiffs alleged various violations of the Federal and State Constitutions, of
      42 U.S.C. §1983, and California Civil Code §52.1 associated with the LASD’s
      strip/visual body cavity search practices at CRDF during the class period.
            The District Court, after multiple hearings and several class certification
      orders that went through a number of iterations, certified the class on November 18,
      2016. See, Doc No. 327 (Order Granting Renewed Motion For Class Certification).
      The certification was for liability only under Fed.R.Civ.P Rule (c)(4).
             On June 6, 2017, the District Court granted summary judgment on liability
      issues to the Plaintiff class on their claim for Monell liability under the Fourth
      Amendment, and dismissed claims against the individual Defendants, finding
      qualified immunity applied. . See, Doc No. 361. The District Court’s liability
      summary judgment ruling found it unnecessary to address changed conditions at
      CRDF because the searches violated the Fourth Amendment for the whole Class
      Damages Period. The changes in conditions are nonetheless factored into this
      Settlement.
            Subsequently, the Parties entered into a protracted arm’s length mediation
      process with the assistance of Retired United States District Judge George King,
      including three in-person mediation sessions with Judge King and numerous
      telephonic sessions (both the Parties separately with Judge King and among the
      Parties and Judge King).
            The Parties have reached a proposed Settlement subject to the approval of the
      Court. It is understood and agreed that this Settlement is the compromise of
                                                 2
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
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      disputed claims by the Named Plaintiffs and Class Members, and that the payments
      made are not to be construed as an admission of liability by any of the Defendants.
      The Defendants deny liability, preserve all defenses they have asserted or could
      present in these proceedings or any future appeal, and intend merely to avoid the
      expense of further litigation.
              In summary, this Settlement provides for dismissal of this case with prejudice
      in exchange for a non-reversionary Class Fund of $53 Million, from which costs of
      administration, litigation costs and attorney’s fees will be paid, and the remainder
      of which would be distributed to Class Members who make viable claims subject to
      certain requirements for a minimum number of claims made (or a portion of funds
      would go to cy pres distributions as defined herein).
                                       II.    DEFINITIONS
              The listed terms used throughout this Settlement Agreement are intended to
      have the following meanings:
         1.    “Administrator” means the Class Administrator, as agreed upon (or to be
               agreed upon) by the Parties and appointed by the Court to review and
               determine the validity and amount of claims submitted by a Settlement
               Class Member (“SCM”) (as defined herein), according to the procedures set
               forth herein.
         2.    The “Bar Date” is the date by which any Class Member who wishes to
               receive payment pursuant to the Settlement Agreement and therefore is a
               Settlement Class Member (“SCM”) as defined below must file his/her Proof
               of Claim and Release Form, file objections to this Settlement Agreement, or
               request to be excluded from the class (opt-out). The Bar Date shall be
               calculated as the close of business on the 150th day after the last day of
               mailing of the Class Notice (or, for those whose initial notice is by email
               and text message, the day that they were to be sent such electronic notice in
               lieu of regular mail, as provided in Section X), which is up to occur within

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              two consecutive business days from beginning to end, as is addressed in ¶
              39, i.e., the Administrator must mail all notices within a two day period).
         3.   “Class Counsel” herein refers to Barrett S. Litt and Lindsay Battles of
              KAYE, McLANE, BEDNARSKI & LITT.
         4.   “Class Counsel Attorney’s Fees” refers to the amount awarded by the Court
              as Class Counsel’s attorney’s fees in this case, to be approved by the Court
              upon motion by Class Counsel.
         5.   “Class Counsel Litigation Costs” refers to the amount of costs awarded by
              the Court upon motion by Class Counsel.
         6.   The “Class Fund” refers to the amount of $53 Million as damages
              compensation to the Class, to be paid by Defendants to the Administrator,
              and out of which the costs of Administration, Plaintiffs’ counsel
              expert/consulting, litigation and mediation fees, incentive awards and
              compensation to Class Members will be paid.
         7.   The “Class Damages Period” refers to the period between March 5, 2008
              (two years before the filing of the complaint) and January 1, 2015 (the date
              scanners or privacy partitions were available for all CRDF strip searches).
         8.   A “Class Member” means any member of the certified Damages Classes.
              Although the Court certified two damages classes, one from March 2008
              through June 30, 2011, and one from July 1, 2011 through January 1, 2015
              (because scanners were then being used for all strip searches unless the
              inmate requested a strip search in its place), for purposes of this settlement
              and because summary judgment was granted to both classes, the Damages
              Class is defined for settlement purposes as “any female inmate at CRDF
              inmate who, upon their admission or return to CRDF, were visual body
              cavity searched in groups, without individual privacy between March 5
              2008 (two years before the filing of the complaint) and January 1, 2015.”
         9.   The “Class Notice” means the notice to be sent to Class Members regarding
              this Settlement, in a form substantially similar to that attached hereto as
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             Exhibit B, or as otherwise approved by the Court, and such other summary
             notice to be published in accordance with the terms of this Settlement
             Agreement.
         10. The “Class Member List” is a list of Class Members. It is based solely on
             the records of the LASD. Only persons appearing on that list qualify as
             Class Members.
         11. The “Database” is the information provided in electronic form to the
             Administrator which information has been compiled from the electronic
             records of the LASD, as filtered to identify those meeting the class
             definition by the Parties’ experts.
         12. The “Defendants” are the County of Los Angeles, the Los Angeles Sheriff’s
             Department, its prior Sheriff Leroy Baca, Sammy Jones, Timothy Cornell,
             John H. Clark, Stacey Lee, Dennis Burns, Gerald K. Cooper and Daniel
             Cruz.
         13. The “Effective Date” is the date on which the District Court issues an Order
             granting final approval of the Settlement Agreement, except that if any
             objections to the settlement were submitted to the Court, the Effective Date
             is the date of the final resolution of any appeal of the Final Approval of this
             Settlement Agreement, or if no such appeal is filed, the expiration of the
             deadline for filing a Notice of Appeal.
         14. The “Fairness Hearing” is the hearing on the fairness of this Settlement,
             which date will be set by the Court.
         15. The “Final Order of Approval and Settlement” is the Order finally
             approving the settlement, entered by the Court (which may also be referred
             to herein as “Final Order”).
         16. The “Lawsuit” refers to the action styled Amador et al. v. Baca et al., Case
             No. CV 10-01649 SVW (JEMx)..
         17. The “Motion for Attorney’s Fees and Costs” is Class Counsel's application
             for Attorneys' Fees and Costs.
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         18. The “Named Plaintiffs” or “Class Representatives” refers to the plaintiffs
             named in the Fourth Amended Complaint to this suit, who are Mary
             Amador, Lora Barranca, Alisa Battiste, Nancy Briseño, Felice Cholewiak
             (Vargas), Evangelina Madrid, Diana Paiz, Diane Vigil and Myeshia
             Williams. While Lora Barranca, Diana Paiz and Diane Vigil were named
             solely as injunctive relief plaintiffs under §1983, they were damages
             plaintiffs under state law and Class Members. For purposes of this
             Settlement, no distinction is made between or among the Named Plaintiffs.
         19. “Preliminary Approval” is the Court's determination that the Settlement is
             within the range of possible approval and therefore that Class Notice should
             be sent to Class Members and a Fairness Hearing should be set by the
             Court.
         20. The “Preliminary Approval Order” is an order entered by the Court
             preliminarily approving the Settlement, after which Class Notice, the
             opportunity to object and Opt Out, and entry of a Final Order of Approval
             and Settlement would occur.
         21. An “Opt-Out” is any Class Member who files a timely request for
             exclusion, pursuant to the terms of this Settlement Agreement, to be
             excluded from the Settlement Class. (If used as a verb, it refers to the
             process of filing such exclusion.)
         22. The “Proof of Claim Form” means the Proof of Claim and Release Form
             required to be used in order to make a claim for payment under this
             Settlement. A copy of the proposed Proof of Claim Form is attached as
             Exhibit C. The pre-prepared Claim forms shall be bar coded to link with the
             Class Member’s Database information and shall contain the damages to
             which the Class Member is entitled if s/he were to receive the full damages
             provided for in this agreement.
         23. “Released Person” means the Defendants and their affiliates, subsidiaries,
             predecessors, successors, and/or assigns, together with all past, present and
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             future officials, employees, representatives, attorneys, outside counsel,
             and/or agents of Los Angeles County. “Released Person” also includes any
             and all insurance carriers, and/or their representatives and attorneys, for the
             Released Persons.
         24. “Remainder” refers to the amount in the Class Fund after payment of Class
             Counsel’s Attorney Fees, Class Counsel’s Litigation Costs, and mediation
             costs. The “Minimum Remainder” is a figure used for purposes of
             determining whether cy pres payments are made and is based on the
             estimate of the maximum fees to be sought (1/3 of the $53 Million Fund),
             and estimated litigation and class administration costs ($1.5 Million),; thus
             the Minimum Remainder is estimated to amount to $33,883,000, which the
             Parties agree to round up to $34,000,000.
         25. The “Settlement” refers to this agreement.
         26. A “Settlement Class Member” (“SCM”) means any Class Member as
             defined above (whether or not she files a Timely Claim form), including
             representatives, successors and assigns, who does not file a valid and timely
             Request for Exclusion as provided for in this Settlement Agreement.
         27. The “Settlement Fund” is the fund established by the Administrator with
             funds transferred from Defendants from which the damages to the Class
             Representatives and Class Members will be paid. The Defendants will pay
             all moneys they are obligated to pay under the Preliminary Approval Order,
             and the settlement approved by the Court, if any, into the Settlement Fund.
         28. “Strip Search” means a search conducted by LASD personnel on a Class
             Member (as defined above) in which the person was required to remove her
             clothing, including underwear, in the presence of a corrections officer
             and/or expose her breasts, genitals or body cavities for a visual inspection.
             All persons appearing on the Class Member List were subjected to a strip
             search as defined herein.

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         29. A “Timely Claim” is one filed a) within the 150-day window provided by
              the notice to be sent to the class, and b) to the extent the Court approves,
              late claims (i.e., claims filed after the Class Notice period) that are filed
              prior to the Final Approval Hearing.
                             III.   DISCLAIMER OF LIABILITY
             1.    The Parties acknowledge and agree that all undertakings and
      agreements contained in this Settlement Agreement have been agreed to solely for
      the purpose of finally compromising all questions, disputes and issues between
      them relating to the litigation. This Settlement Agreement and any proceedings
      taken pursuant hereto shall not in any event be construed as, interpreted as, or
      deemed to be evidence of an admission or concession by either party for any
      purpose, or deemed to constitute a waiver of any legal position or any defenses or
      other rights which the Parties might otherwise assert in any context. Neither this
      Settlement Agreement nor any provision contained therein, nor any documents
      related hereto, nor any negotiations, statements or testimony taken in connection
      herewith may be offered or received as evidence, or used for any other purpose, or
      in any suit, action or legal proceeding which either of them have or in the future
      may have with any other person, as an admission or concession of liability or
      wrongdoing on the part of either party, except in connection with any action or
      legal proceeding to enforce this Settlement Agreement. The Parties have reached
      this Settlement through arms-length negotiations and to avoid the costs and delays
      of further disputes, litigation and negotiations among them and after extensive
      negotiations with an independent mediator, subject to approval by the Court. This
      Settlement Agreement has been entered into without any concession of liability or
      non-liability whatsoever and has no precedential or evidentiary value whatsoever.
       IV.   FINANCIAL TERMS OF SETTLEMENT AGREEMENT AND CLASS
                     DAMAGES ALLOCATION FORMULA
             2.    The Class Fund is the amount of $53,000,000. The class administration
      costs shall be paid out of that fund, as will any incentive awards to the Class
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      Representatives as approved by the Court. (Class Counsel’s Litigation Costs will be
      addressed in Class Counsel’s Motion for Attorney’s Fees and Costs.) The
      Remainder of the Class Fund shall be distributed to the Class Members (including
      Named Plaintiffs/Class Representatives) under the formula terms provided in this
      Agreement.
            3.      Subject to approval of the Court at the hearing regarding the Final
      Order of Approval and Settlement, the following incentive awards shall be paid to
      the Named Plaintiffs (in addition to the share of the Class Fund to which they are
      entitled as Class Members). Class Counsel represent that they have no prior
      agreement with any Named Plaintiff to seek such awards, nor do they have any
      commitment to propose them. They are proposed at the initiative of Class Counsel
      and are intended to reflect Named Plaintiffs’ commitment to, and active assistance
      in advancing, this Lawsuit since it was filed in 2010:
      NAME                                                   INCENTIVE AWARD
      Mary Amador                                            $10,000
      Lora Barranca                                          $10,000
      Alisa Battiste                                         $10,000
      Nancy Briseño                                          $10,000
      Felice (Cholewiak) Vargas                              $10,000
      Evangelina Madrid                                      $10,000
      Diana Paiz                                             $10,000
      Diane Vigil                                            $10,000
      Myeshia Williams                                       $10,000
                           TOTAL                             $90,000
            4.      It is not currently possible to determine the amount of the Remainder
      before the hearing regarding the Final Order of Approval and Settlement, where the
      final amount of Class Counsel’s Attorney’s Fees and Costs awards, and class
      administration costs will be determined.
            5.      The formula for distribution of the Remainder has been developed by
      Class Counsel and, if approved by the Court, will be summarized in the Class
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      Notice to be sent to Class Members. The formula is designed to account for the fact
      that the alleged severity of challenged conditions varied depending on the time
      period the Strip Search occurred (with the most intrusive conditions before July
      2011 and least intrusive conditions after February 2014 when the bus bay became
      enclosed and had heating), the number of Strip Searches an inmate experienced and
      the weather conditions when the Strip Search occurred.
             6.     To briefly summarize, Class Counsel’s assessment of these variations
      in conditions, which are factored into the class damages allocation formula, are as
      follows:
           TIME PERIOD                                     CONDITIONS

      2/26/2014 – 1/31/2015               Conditions:

      (Core Conditions                     (1) female inmates required to participate in
      Applicable to All Class                 group Strip Searches in which the labia lift
      Members Regardless of                   procedure was used;
      Time Period)                        (2) female inmates required to publicly identify if
                                              they were menstruating, remove feminine
                                              hygiene products in view of other inmates;
                                              and
                                          (3) female inmates required to expose their naked
                                              body – including bare pubic region and bare
                                              breasts – in the presence of a group.
                                           (4) inmates searched in groups of 24 inmates (or
                                              more, see below).

      4/1/2013 – 2/25/2014            Conditions:

                                         • All above conditions
                                      plus
                                         • Group Strip Searches occurred in a converted
                                           bus garage with a chain link fence roof with a
                                           tarp on it and no heaters.
      7/1/2011 – 3/30/20131           Conditions:

      1
       This subclass was because LASD reduced its class sizes to a maximum of 25 and installed tables
      on which clothes could be placed in April 2013.
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           TIME PERIOD                                  CONDITIONS

                                      • All above conditions
                                   plus
                                      • Inmates searched in groups larger than 24
                                        inmates
                                      • Inmates required to put clothing directly on
                                        the ground.
      3/5/2008 – 6/30/2011         Conditions:

                                      • All above conditions
                                   plus
                                      • Deputies simultaneously searched both lines
                                        of female inmates so that inmates were
                                        directly viewing each other during the Strip
                                        Search.


            7.     Based on the above considerations, Class Counsel have devised a
      distribution model in which Class Members are compensated based on the number
      of Strip Searches they endured, with searches weighted based on the time period in
      which they occurred (which, in turn, corresponds to the severity of conditions).
      Each Strip Search is assigned a point-value which will translate to a per-diem dollar
      value at the time of distribution. Class Members receive the designated number of
      points based on the number of Strip Searches in each category.
            8.     The chart below shows the categories, conditions associated with each
      category, and points assigned to each category.
            Time Period                         Points Per Strip Search
            3/8/2008 – 6/30/2011                100
            7/1/2011 – 3/31/2013                90

            4/1/2013 – 2/25/2014                80

            2/26/2014 – 1/31/2015               70

            9.     The distribution model also provides an additional 10-points for any

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      Strip Search conducted at a temperature of 70 degrees or less.
            10.    The per-search points are assigned to each Class Member, up to their
      50th search. The “50-search cap” applies to less than .04% of the Class. This cap is
      to ensure that outliers who have outsized claims do not distort the meaningfulness
      of the recovery to the remaining Class Members. (Such outliers would be entitled to
      opt out and pursue their own claims if they so choose.)
            11.    That Class Member’s point total is the sum of all their assigned points.
      The final distribution will be based on the total points for each Class Member who
      filed claims, divided by individual points assigned to each claiming Class Member.
      (If, for example, there is a total of 1,000,000 points for the aggregated Timely
      Claims, and Class Member “X” had a total of 200 points, Class Member “X” would
      receive .02% (or .0002) of the Remainder; if the Remainder is the Minimum
      Remainder of $31 Million, that Class Members would receive $6,200). These
      figures are purely hypothetical and should not be considered as reflective of any
      likely award. Because it is anticipated that not all Class Members will make Timely
      Claims, and this is a non-reversionary fund (except as provided in Section VI,
      below, for cy pres payments in the event of a low claim rate, which the Parties do
      not anticipate), a claiming Class Member’s share of the Remainder will be
      determined based on that Class Member’s share of the total points for Class
      Members who made Timely Claims.
            12.    No Class Member who filed a Timely Claim will receive less than
      $200 (the minimum will be at least $200 but may be adjusted upwards) subject to
      the limit of the Class Funds available in the Remainder. The minimum provision is
      designed to ensure that all Class Members who submit Timely Claims receive some
      recovery.
            13.    None of the Class Fund shall revert to the County. Accordingly, as
      explained above, the money per Class Member making a Timely Claim will
      increase proportionately to the extent that fewer Class Members make a claim.
            14.    Class Counsel intend to submit a separate Motion for Attorney’s Fees
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      and Costs to be heard at the hearing regarding a Final Order of Approval and
      Settlement, to be analyzed under the standards for an award of fees and costs to a
      prevailing plaintiff under the percentage of the fund doctrine. While the motion will
      seek a percentage of the Class Fund as a fee award, subsumed within that request
      will be any statutory attorney’s fee to which Class Counsel would be entitled under
      42 U.S.C. § 1988 or Cal. Civil Code § 52.1(h). The Class Notice will advise Class
      Members of Motion for Attorney’s Fees and Costs and their right to object to it.
            15.    The LASD represents that to the best of its knowledge, it has provided
      all the electronic data in its possession, which it is legally authorized to produce,
      regarding Class Members necessary to both identify and contact Class Members.
      The LASD shall provide to the Administrator, to the extent that such information
      has not already been provided, any such additional information in its possession
      which it is legally authorized to produce. Such information shall include date of
      birth, social security number (SSN), driver’s license/state ID number, and most
      recent contact information (address, phone and any other available contact
      information). In addition, LASD shall provide to the Administrator and Class
      Counsel the data from the Automated Justice Information System (“AJIS”)
      Released-to-Agency field indicating whether a Class Member was released to the
      custody of another law enforcement agency. This information may only be used to
      reach out to Class Members to ensure they receive the Class Notice and are aware
      of how to file a claim pursuant to this Agreement. LASD will make a written
      request to the California Department of Corrections and Rehabilitation (“CDCR”),
      which request will include a list of Class Members who were transferred to CDCR
      from LASD custody, and request that CDCR: (1) advise the Administrator of
      where and how the Class Notice to those Class Members still in CDCR physical
      custody should be sent; and (2) provide the Administrator with the most recent
      contact information in CDCR’s records (including records in the Division of Adult
      Parole Operations, where applicable) for each Class Members who is no longer in
      CDCR physical custody. When making the foregoing request to CDCR, LASD will
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      provide to CDCR any individualized identifying information in its possession that it
      is legally authorized to include that could assist CDCR in identifying Class
      Members.
            If CDCR provides a response, LASD will then advise Class Counsel of
      CDCR’s response, and if CDCR either fails to respond or refuses to provide
      assistance, Class Counsel may seek Court assistance in securing the cooperation of
      CDCR to effectuate service of the Class Notice and to obtain the most up to date
      contact information for Class Members. Neither the County nor the LASD will
      have any further obligation with respect to efforts to obtain contact information for
      Class Members from CDCR beyond the efforts described above, except that it will
      engage in any reasonable follow-up requested by CDCR. LASD will likewise have
      no further obligation to assist with securing cooperation regarding the provision of
      Class Notice to Class Members still in CDCR custody.
            Nothing in this agreement precludes Plaintiffs from seeking a court order
      authorizing the LASD to provide CII and FBI numbers directly to CDCR as part of
      efforts to identify Class Members and provide Class Notice to individuals who were
      previously transferred to CDCR. Should Plaintiffs file such a motion, they will
      serve the Attorney General of the State of California and the Federal Bureau of
      Investigation with the motion in order to provide each with the opportunity to be
      heard. Plaintiffs will not seek access to such records for themselves or for the
      Administrator.
                  V.   RELEASES AND OTHER SETTLEMENT TERMS
            16.    The Parties enter into this Agreement solely for the purposes of this
      Settlement and implementation of the Settlement. If the Settlement fails to be
      approved or otherwise fails consummation, then this Settlement Agreement is
      hereby withdrawn.
            17.    An SCM who complies with the requirements set forth in this
      Settlement Agreement and files a Timely Claim form will be paid specified sums
      determined by the distribution process set forth above, which payment shall be in
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      full satisfaction of all claims of that SCM.
            18.    The Settlement Agreement, as of the Effective Date, resolves in full all
      claims against the Released Persons by all of the SCMs, including the Named
      Plaintiffs, involving violations of law or constitutional rights, including, without
      limitation, their equal protection rights under federal and California law, their rights
      under 42 U.S.C. § 1983 and California Civil Code § 52.1, any other rights under
      any other federal, state or local law, regulation, duty, or obligation, or any other
      legal theory, action or cause of action, which arise from the class-wide factual
      allegations alleged in the Fourth Amended Complaint, which is the operative
      pleading in this matter ( “Covered Claims”).
            19.    When the Settlement Agreement is final, as of the Effective Date, all
      SCMs, including the Named Plaintiffs, waive all rights to any and all claims
      relating to damages or reimbursement of any kind for the Covered Claims. This
      waiver and release shall include a full release and waiver of unknown rights
      regarding the Covered Claims that may exist as of the Effective Date.
            20.    As of the Effective Date, the SCMs, including the Named Plaintiffs,
      hereby waive any and all rights to pursue, initiate, prosecute, or commence any
      action or proceeding before any court, administrative agency or other tribunal, or to
      file any complaint regarding acts or omissions by the Released Persons with respect
      to the Covered Claims during the class period; and further, as it relates to this
      waiver or Release, expressly waive the provisions of California Civil Code § 1542,
      which provides that “a general release does not extend to claims which the creditor
      does not know or suspect to exist in his or her favor at the time of executing the
      release, which if known by him or her must have materially affected his or her
      settlement with the debtor.”
            21.    This Settlement Agreement, together with its exhibits, contains all the
      terms and conditions agreed upon by the Parties regarding the subject matter of the
      instant proceeding, and no oral agreement entered into at any time nor any written
      agreement entered into prior to the execution of this Settlement Agreement shall be
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      deemed to exist, or to bind the Parties, or to vary the terms and conditions
      contained herein, except as expressly provided herein.
               22.      Each SCM shall be deemed to have submitted to the jurisdiction of the
      Court.
               23.      This Settlement Agreement is subject to and conditioned on entry by
      the Court of a Final Order of Approval and Settlement and the issuance of the final
      order of dismissal by the Court, providing the specified relief as set forth below,
      which relief shall be pursuant to the terms and conditions of this Settlement
      Agreement and the Parties’ performance of their continuing rights and obligations
      hereunder. The Final Order of Approval and Settlement shall be deemed final on
      the Effective Date. Such Final Order of Approval and Settlement shall:
               a. Dismiss with prejudice all claims in the action as to the Released Persons
                     including all claims for monetary damages, declaratory relief and
                     injunctive relief, each side to bear its own costs and fees except as
                     otherwise provided for in this Settlement Agreement;
               b. Order that all SCMs are enjoined from asserting against any Released
                     Person any and all claims that any SCM had, has or may have in the
                     future based on the Covered Claims;
               c. Release each Released Person from the claims that any SCM has, had or
                     may have in the future against such Released Person arising out of the
                     Covered Claims;
               d. Determine that this Settlement Agreement is entered into in good faith, is
                     reasonable, fair and adequate, and in the best interest of the Class; and
               e. Reserve the Court’s continuing and exclusive jurisdiction over the Parties
                     to this Settlement Agreement, including Defendants and SCMs, to
                     administer, supervise, construe and enforce the Settlement Agreement in
                     accordance with its terms for the mutual benefit of all Parties.
               24.      The Parties will take all necessary and appropriate steps to obtain
      preliminary and final approvals of the Settlement Agreement, and dismissal of the
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      action with prejudice, all Parties bearing their own fees and costs unless otherwise
      set forth in this Settlement Agreement. If the Court gives final approval of this
      Settlement Agreement, and if there is an appeal from such decision, the Parties will
      defend the Settlement Agreement.
      VI.   CY PRES DISTRIBUTION IN THE EVENT OF A LOW CLAIM RATE
            25.    In order to ensure that Class Members do not receive a windfall
      because there are relatively few claims filed, the Parties agree that, if the total
      claims do not amount to the Minimum Remainder based on the following formula,
      the difference between those aggregated claims and Minimum Remainder will go to
      the organizations identified in ¶ 30. The formula to determine whether such cy pres
      payments are to be made (referred to as the “Cy Pres Formula” shall be as follows:
                                      CY PRES FORMULA
                     # SEARCHES                                   AMOUNT
                     1-3                                          $5,000
                     4-6                                          $10,000
                     7-10                                         $15,000
                     11+                                          $20,000

            26.     Thus, by way of example only, if the Minimum Remainder is $31
      Million, 4000 Class Members filed claims (which the Parties agree is likely a low
      claim rate), and the average of their claims based on the Cy Pres Formula amounted
      to $9000 per claimant, the total would be $36,000,000, and no cy pres distribution
      would apply. In contrast, if 3000 people filed claims based on the same average
      $9000 per claimant and same $31 Million Minimum Remainder, then $4,000,000
      (the difference between the $31 Million Minimum Remainder and the $27,000,000
      claimed amount based on the Cy Pres Formula), would go to the Cy Pres Fund.
            27.    The foregoing formula only applies in the event that the total claims do
      not amount to the Minimum Remainder based on the Cy Pres Formula. Otherwise,
      the allocation formula set out in Section IV, above, applies.
            28.      The Cy Pres funds will not be returned to the County’s general fund
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      but will instead be provided to non-profit organizations or programs which provide
      gender-responsive services to female inmates in LASD custody. At the time that it
      is determined that any Cy Pres funds are to be distributed, counsel for the Parties in
      this case and the LA County Board of Supervisors will work in good faith to
      identify the organizations or programs to receive those funds. If they cannot agree,
      the Parties will separately brief the Court, and the Court will determine the
      organizations and/or programs to which the Cy Pres funds will be paid.
                      VII. RESOLUTION AND PAYMENT OF CLAIMS
               29.   Defendants agree to the division of funds between Incentive Awards
      and the Remainder as proposed by Class Counsel subject to the approval of the
      Court.
                                 VIII. CLASS COUNSEL FEES
               30.   Class Counsel will file a Motion for Attorney’s Fees and Costs on a
      percentage of the fund basis, and the payment of said fees and costs is subject to
      Court approval. Class Counsel will not seek more than 1/3 of the $53 Million Class
      Fund as the amount of attorney’s fees requested; Class Counsel may seek less but
      may not seek more. (This 1/3 cap is separate from Class Counsel’s costs, i.e., Class
      Counsel may request up to 1/3 of the Class Fund plus costs.)
                                IX.    CLASS ADMINISTRATOR
               31.   Counsel for the Parties will jointly agree on the selection of the Class
      Administrator and, if they cannot so agree, will submit their suggestions to the
      Court and the Court will determine the Administrator. The Parties understand the
      importance of a rapid process for choosing the Class Administrator and are
      committed to reaching a joint selection as soon as practicable.
               32.   The Administrator shall be responsible for taking any steps deemed
      appropriate and necessary by Class Counsel to notify the Class Members of their
      rights to file claims, and to assist them in doing so. Class Notice shall be issued
      electronically by email and text message (for all Class Members whose email
      addresses and mobile phone numbers can be and have been obtained) by the date
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      set in the Preliminary Approval Order for the initial mailing of Class Notice. On
      that same date, Class Notice shall be provided by regular mail for all Class
      Members for whom an email address and mobile phone number have not been
      obtained, for all incarcerated Class Members.
            33.    For those Class Members whose initial Class Notice was sent by the
      combination of email and text message who have not responded by filing either a
      claim or an Opt Out within 30 days, they will be sent by regular mail the Class
      Notice previously provided to the other Class Members whose Class Notice was
      sent by regular mail, along with a statement that they were sent by email and text
      message a Class Notice as well, and this is being sent to ensure that they have seen
      the Class Notice. (See, ¶ 40 for elaboration.)
            34.    The Administrator’s duty shall include the use of normal and
      customary means to search for a Class Member’s email addresses, mobile phone
      numbers and last known mailing addresses, including the use of a postal database
      and other specialized databases, when mail is returned. As indicated above, the
      Administrator shall initially send electronic copies of the Class Notice to any
      inmates for whom email addresses and mobile telephone numbers are ascertainable
      and at the same time send a hardcopy version and claim form to any Class Member
      whose email and mobile phone numbers are not ascertainable, as well as any Class
      Members who are currently incarcerated in California State prisons. (The
      Administrator is responsible for making reasonable efforts to determine Class
      Members who are now incarcerated in California state prisons). The Administrator
      will also propose economically viable and likely productive forms of notice through
      the use of social media and online advertising.
            35.    Beginning when it is first retained after the Court approves its
      appointment, the Administrator will begin to obtain as many Class Member email
      addresses and mobile phone numbers as reasonably possible. Before the filing of
      the Motion for Preliminary Approval, the Administrator will advise the Parties and
      the Court of when the Administrator believes it can reasonably obtain available
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      Class Member email addresses, phone numbers and mailing addresses, and the date
      for mailing the Class Notice shall be set with that time in mind.
            36.    Notice shall proceed as follows:
                      1) Initial Class Notice shall commence with email and text notices
                        for all Class Members whose email addresses and/or mobile
                        phone numbers are ascertainable (assuming both are
                        ascertainable, Class Members will receive two forms of
                        electronic notice; if either the email address or mobile phone
                        number cannot be obtained, the notice will be sent via the
                        available means).
                      2) On the same day, notice by regular mail shall be sent to all Class
                        Members for whom either an email address or mobile phone
                        number or both could not be ascertained. This means that all
                        Class Members will receive the Class Notice by either (1) email
                        and text; or (2) regular mail plus either email or text (assuming
                        one of the two is available); or (3) regular mail only (for those
                        whose email and mobile phone numbers cannot be located).
                      3) Thirty days after the initial issuance of Class Notice, the
                        Administrator will send notice by regular mail to all Class
                        Members who were initially notified only by electronic means
                        only (those who received notice by email and text) and who have
                        not yet submitted claim forms along with the explanation that
                        they were sent such electronic notice but this notice is being sent
                        as well because they did not file a claim or exclude themselves
                        from the settlement.
                      4) Throughout the notice period, the Administrator shall continue
                        to send email and text notice if and when it learns additional
                        email addresses/phone numbers for Class Members.
                      5) Where Class Notice is sent by email or text, the Class
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                         Administrator will periodically remind Class Members through
                         email/text blasts to file claims. (If possible, procedures shall be
                         implemented to remove Class Members from email/text blasts
                         who have submitted claims).
            37.    The Administrator shall complete the initial Class Notice within two
      consecutive business days. The second day of such mailing is the first day of the
      period for calculating the “Bar Date” (defined previously). That mailing shall occur
      as soon as practicable after the settlement has been Preliminarily Approved and no
      later than the date set by the Court.
            38.    The Class Notice shall describe the particulars of the case, provide the
      class definition, provide information for claimants to contact the Administrator for
      a claim form, notify Class Members of establishment of a case website, and contain
      other usual and customary information. The proposed Class Notice is attached to
      this Settlement Agreement as Exhibit B.
            39.    The Administrator will include in its bid a line item for the cost of
      obtaining from CDCR the identities of Class Members in CDCR custody to whom
      Class Notice should be sent at their CDCR housing location.
            40.    The Parties discussed and presently do not intend to publish Class
      Notice in local newspapers because experience has shown that such notice is of
      little value in notifying Class Members. Instead, mail, email and text notice will be
      supplemented through summary publication in Prison Legal News (a publication
      widely distributed to inmates throughout the country); and through selective social
      media/online outreach directly targeting Class Members’ Facebook and/or
      Instagram accounts.
            41.    If specifically requested by Plaintiffs’ counsel, the Defendants will
      seek to obtain the cooperation of CDCR (subject to the limitations set forth in
      Paragraph 15), and the Los Angeles County Probation Department to assist in
      locating Class Members, including, where Defendants believe legally permissible,
      providing more recent contact information for Class Members. The LASD will
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      advise on its website of the existence of this Settlement and place a link on the
      website to connect viewers to the Administrator’s website. The LASD will also
      post physical copies of the Class Notice (Exhibit “B”) in CRDF Reception and Day
      Rooms.
             42.   The request for bid to potential Administrators included requests for
      all such potential activities as well as suggestions for other ways of reaching
      potential Class Members. That request for bid also requested economically viable
      proposals for means by which Class Members can receive payment through
      electronic means rather than by check. There will also be requests to nonprofits that
      address criminal justice reform, reentry or programs for former inmates to provide
      notice on their websites and to their mailing lists.
        X.     CLASS ADMINISTRATION FOR PROOF OF CLAIM FORMS AND
                             PAYMENT SCHEDULE
             43.   The Administrator shall be responsible for providing and receiving
      Proof of Claim Forms in paper and electronic format. The Administrator shall
      determine Class Membership and the amount of monies due each timely claiming
      Class Member based on the formula contained in Section IV.
             44.   A Proof of Claim Form shall be deemed timely submitted under
      subsection (a) of Definition # 29 (Timely Claim) when received by the
      Administrator, or postmarked, on or before the Bar Date. Facsimile or electronic
      mail filings are acceptable and timely so long as they clearly indicate the case on
      which the claim is filed and are received on or before the Bar Date.
             45.   If a Class Member submits a Claim Form that is deficient in some
      respect, the Administrator shall provide written notice by First Class Mail and a 30-
      day time limit to provide a proper Claim Form, which notice shall inform the Class
      Member of what she must do in order to submit a proper claim. Failure to cure the
      deficiency within the 30-day time limit will bar any further rights for consideration
      of eligibility to make a valid claim. So long as the original claim is received on or
      before the Bar Date, it shall be considered timely under sub-section (a) of
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      Definition # 30 (Timely Claim) if any deficiency is cured within 30 days of the
      mailing of a notice of deficiency.
            46.    Claim Forms received after the Bar Date shall be rejected. The
      Administrator will notify claimants of the rejection of untimely Claims.
            47.    The $53 Million payment shall be made in three equal installments, the
      first of which shall be made 30 days after the Effective Date, the second of which
      shall be made twelve months after the first payment, and the third of which shall be
      made twelve months after the second payment.
            48.    The costs of Class Administration through the Final Order of Approval
      and Settlement and the first round of distribution of checks will be taken from the
      first payment.
            49.    For each payment, 1/3 of the total Attorney’s Fees and Costs awarded
      by the Court to Class Counsel shall be paid into the KMBL Client Trust Account
      and the remaining funds shall be paid to the Class Administrator for distribution
      under the terms of this Agreement.
            50.    The Class Administrator shall take its accrued and reasonably
      projected costs of administration for that round from the second and third round of
      payments.
            51.    In addition to the first round of payment to qualifying Class Members,
      the Administrator will advise them of the estimated time of payments to be made in
      the second and third rounds and advise Class Members to keep them apprised of
      any address changes.
            52.    The Administrator shall make the first round of payments to SCMs
      who have filed Timely Claims as ultimately determined by the Court in accordance
      with this Settlement Agreement within a reasonable time not to exceed 90 days
      after the Effective Date.
            53.    If a check to an SCM is not cashed within three months of its mailing,
      the Administrator shall hold the funds for nine additional months, during which
      time it shall make reasonable efforts to contact the person to whom the uncashed
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      check was written to make arrangements for its cashing or reissuance. The
      Administrator shall not make any payment to any SCM until all claims have been
      submitted to the Administrator pursuant to the terms of this Settlement Agreement.
            54.    Any SCM funds not cashed within one year of a check’s initial mailing
      shall be voided, and those funds (“Uncashed Funds”) shall held for the next round
      of payments. Where an SCM’s check was not cashed within that one year period,
      that SCM shall be eliminated as a qualifying Class Member, and that SCM’s past
      and future funds shall become part of the fund for future distribution to Class
      Members, and allocated to the remaining SCM’s during the next round of payments
      according to the Class Damages Allocation Formula contained in Section IV.
            55.    Uncashed funds remaining in the Class Fund one year after the third
      round of payments shall be given as a donation to the Cy Pres Fund (see ¶ 30), to
      be allocated equally among the qualifying organizations/ programs.
         XI.          EXCLUSION FROM SETTLEMENT CLASS—OPT OUTS
            56.    Any Class Member who wishes to be excluded from this Settlement
      must submit a request to be excluded from the class, a process defined herein as
      “Opt-Out.” The request for exclusion must be delivered to the Administrator, or
      postmarked, on or before the Bar Date or as the Court may otherwise direct.
            57.    Although Named Plaintiffs are entitled to Opt-Out of the Settlement,
      Plaintiffs’ counsel has conferred with each of them, and they all approve of and
      support the settlement, and have advised that they do not intend to Opt-Out.
            58.    Each Class Member who chooses to Opt-Out from or object to this
      Settlement shall be deemed to have submitted to the jurisdiction of the Court with
      respect to his/her claim.
            59.    Any Class Member who does not Opt-Out as set forth in this
      Settlement Agreement, shall be deemed conclusively to have become an SCM and
      to be bound by the Settlement Agreement and all subsequent proceedings, orders
      and judgments herein, regardless of whether s/he files a claim form.
            60.    Any Class Member who exercises an Opt-Out shall not share in any
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      monetary benefits provided by this Settlement Agreement.
            61.    The Administrator will periodically report to Defendants’ counsel and
      Class Counsel regarding all Opt-Outs received and will determine and report to
      counsel the total number of Opt-Outs no later than 10 days after the Bar Date.
            62.    If the total number of Opt-Outs exceeds 250 individuals, Defendants,
      in their sole discretion, may rescind this Settlement Agreement. In exercising this
      right of rescission, Defendants shall provide the Administrator and Class Counsel
      with written notice of rescission within 20 days after receipt of the Administrator’s
      report providing the total number of Opt-Outs. In the event Defendants exercise the
      right of rescission in accordance with this paragraph, any funds paid or deposited
      pursuant to this Settlement Agreement shall be returned to Defendants within 10
      days of the rescission, less any expenses, fees and costs incurred by the
      Administrator. Rescission shall return the Case to active litigation status.
                               XII. APPROVALS REQUIRED
            63.    The Los Angeles County Board of Supervisors has approved the terms
      of this Settlement although, after Final Approval, it will have to finally approve the
      Final Order of Approval and Settlement.
                               XIII. DISPUTE RESOLUTION
            64.    In the event of any disputes regarding implementation of the
      Settlement Agreement as set forth herein, they shall be resolved by the Court.
                                     XIV. INTEGRATION
            65.    This Settlement Agreement supersedes all prior communications
      regarding the matters contained herein between the Parties or their representatives.
      This Settlement Agreement is an integrated agreement and contains the entire
      agreement regarding the matters herein between the Parties, and no representations,
      warranties or promises have been made or relied on by any party hereto other than
      as set forth herein. This Settlement Agreement was drafted by counsel for the
      Parties hereto, and there shall be no presumption or construction against any party.

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           XV. FAIRNESS HEARING AND FINAL ORDER OF APPROVAL
            66.    Before this Settlement Agreement becomes final and binding on the
      Parties, the Court shall hold a Fairness Hearing to determine whether to enter the
      Final Order of Approval and Settlement. A proposed Final Order of Approval and
      Settlement shall be submitted to the Court incorporating the terms of this
      Settlement Agreement and addressing related information such as Objections and
      Opt-Outs.
                  XVI. NO THIRD PARTY BENEFICIARIES INTENDED
            67.    This Settlement Agreement does not and is not intended to create any
      rights with respect to any third Parties, except as otherwise provided herein.
                                   XVII. COUNTERPARTS
            68.    This Settlement Agreement may be signed in counterparts.



      DATED: _________________
             October 30, 2019                      KAYE, MCLANE, BEDNARSKI &
                                                   LITT

                                                   By: _________________________
                                                               Barrett S. Litt

                                                   By: _________________________
                                                              Lindsay Battles
                                                           Attorneys for Plaintiffs

              October 30, 2019
      DATED: _________________                     GLASER WEIL

                                                   By: _________________________
                                                               Andrew Baum
                                                          Attorneys for Defendants




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            LIST OF EXHIBITS TO SETTLEMENT AGREEMENT


            Exhibit B        Class Notice
            Exhibit C        Proof of Claim and Release Form




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                                                            Exhibit B
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                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
      MARY AMADOR, et al.,                              Case No. CV 10-01649 SVW (JEMx)

                   Plaintiffs,                          [Honorable Stephen V. Wilson]

            vs.                                         SETTLEMENT AGREEMENT

      COUNTY OF LOS ANGELES, et al.,

                   Defendants.




            Plaintiffs Mary Amador, Lora Barranca, Diana Paiz, Diane Vigil, Alisa
      Battiste, Felice Cholewiak, Evangelina Madrid, Myeshia Williams, and Nancy
      Briseño (individually and on behalf of the classes previously certified in this case
      (see, Doc. No. 327) (collectively “Plaintiffs”) and Defendants County of Los
      Angeles (“the County”), the Los Angeles Sheriff’s Department, its prior Sheriff,
      Leroy Baca, and Sammy Jones, Timothy Cornell, John H. Clark, Stacey Lee,
      Dennis Burns, Gerald K. Cooper and Daniel Cruz (collectively “Defendants”), by
      and through their respective counsel, hereby submit the following Settlement
      Agreement (“Settlement Agreement”). Plaintiffs and Defendants are referred to
      collectively herein as “the Parties.”
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                                       I.     RECITALS
            Plaintiffs are former inmates at the Century Regional Detention Facility
      (“CRDF”), a jail facility operated by the Los Angeles County Sheriff’s Department
      (“LASD”), which houses female convicted inmates and pretrial detainees.
            Plaintiffs filed this action in the United States District Court for the Central
      District of California (“Court”) on behalf of themselves and a class of similarly
      situated inmates on March 5, 2010.
            Plaintiffs alleged various violations of the Federal and State Constitutions, of
      42 U.S.C. §1983, and California Civil Code §52.1 associated with the LASD’s
      strip/visual body cavity search practices at CRDF during the class period.
            The District Court, after multiple hearings and several class certification
      orders that went through a number of iterations, certified the class on November 18,
      2016. See, Doc No. 327 (Order Granting Renewed Motion For Class Certification).
      The certification was for liability only under Fed.R.Civ.P Rule (c)(4).
             On June 6, 2017, the District Court granted summary judgment on liability
      issues to the Plaintiff class on their claim for Monell liability under the Fourth
      Amendment, and dismissed claims against the individual Defendants, finding
      qualified immunity applied. . See, Doc No. 361. The District Court’s liability
      summary judgment ruling found it unnecessary to address changed conditions at
      CRDF because the searches violated the Fourth Amendment for the whole Class
      Damages Period. The changes in conditions are nonetheless factored into this
      Settlement.
            Subsequently, the Parties entered into a protracted arm’s length mediation
      process with the assistance of Retired United States District Judge George King,
      including three in-person mediation sessions with Judge King and numerous
      telephonic sessions (both the Parties separately with Judge King and among the
      Parties and Judge King).
            The Parties have reached a proposed Settlement subject to the approval of the
      Court. It is understood and agreed that this Settlement is the compromise of
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      disputed claims by the Named Plaintiffs and Class Members, and that the payments
      made are not to be construed as an admission of liability by any of the Defendants.
      The Defendants deny liability, preserve all defenses they have asserted or could
      present in these proceedings or any future appeal, and intend merely to avoid the
      expense of further litigation.
            In summary, this Settlement provides for dismissal of this case with prejudice
      in exchange for a non-reversionary Class Fund of $53 Million, from which costs of
      administration, litigation costs and attorney’s fees will be paid, and the remainder
      of which would be distributed to Class Members who make viable claims subject to
      certain requirements for a minimum number of claims made (or a portion of funds
      would go to cy pres distributions as defined herein).
            As a form of indirect compensation to absent Class Members, up to $3
      million of the Class Fund will be used to fund contracts between the County of Los
      Angeles, on the one hand, the Moss Group and the Center for Gender and Justice
      (“CGJ”), on the other hand (the “Moss/CGJ Contracts”). Both organizations have
      significant experience in assisting local, state, and national correctional agencies in
      the development of gender-responsive and trauma-informed practices,
      programming, and services. The purpose of the contracts shall be to help develop a
      strengthened model of gender-responsive policy and operational practice at all
      LASD facilities that house female inmates (including CRDF and Twin Towers),
      while enhancing the culture of safety and respect for both staff and the inmate
      population. The contracts will include preliminary assessment/evaluation, and may
      also include the provision of expertise, leadership, technical assistance, and services
      in the following areas: system analysis/operations, policy review and development,
      strategic planning, program development/inmate services, training/culture, and
      ongoing assessment. The Moss/CGJ contracts shall be secured in furtherance of the
      Los Angeles County Board of Supervisors’ effort to facilitate the design and
      implementation of gender-responsive systems within the Los Angeles County
      criminal justice system, as reflected in the Board of Supervisors’ February 2019
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      motion titled “Building a Gender-Responsive Criminal Justice System.”
                                       II.    DEFINITIONS
              The listed terms used throughout this Settlement Agreement are intended to
      have the following meanings:
         1.    “Administrator” means the Class Administrator, as agreed upon (or to be
               agreed upon) by the Parties and appointed by the Court to review and
               determine the validity and amount of claims submitted by a Settlement
               Class Member (“SCM”) (as defined herein), according to the procedures set
               forth herein.
         2.    The “Bar Date” is the date by which any Class Member who wishes to
               receive payment pursuant to the Settlement Agreement and therefore is a
               Settlement Class Member (“SCM”) as defined below must file his/her Proof
               of Claim and Release Form, file objections to this Settlement Agreement, or
               request to be excluded from the class (opt-out). The Bar Date shall be
               calculated as the close of business on the 150th day after the last day of
               mailing of the Class Notice (or, for those whose initial notice is by email
               and text message, the day that they were to be sent such electronic notice in
               lieu of regular mail, as provided in Section X), which is up to occur within
               two consecutive business days from beginning to end, as is addressed in ¶
               39, i.e., the Administrator must mail all notices within a two day period).
         3.    “Class Counsel” herein refers to Barrett S. Litt and Lindsay Battles of
               KAYE, McLANE, BEDNARSKI & LITT.
         4.    “Class Counsel Attorney’s Fees” refers to the amount awarded by the Court
               as Class Counsel’s attorney’s fees in this case, to be approved by the Court
               upon motion by Class Counsel.
         5.    “Class Counsel Litigation Costs” refers to the amount of costs awarded by
               the Court upon motion by Class Counsel.
         6.    The “Class Fund” refers to the amount of $53 Million as damages
               compensation to the Class, to be paid by Defendants to the Administrator,
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              and out of which the costs of Administration, Plaintiffs’ counsel
              expert/consulting, litigation and mediation fees, incentive awards and
              compensation to Class Members will be paid.
         7.   The “Class Damages Period” refers to the period between March 5, 2008
              (two years before the filing of the complaint) and January 1, 2015 (the date
              scanners or privacy partitions were available for all CRDF strip searches).
         8.   A “Class Member” means any member of the certified Damages Classes.
              Although the Court certified two damages classes, one from March 2008
              through June 30, 2011, and one from July 1, 2011 through January 1, 2015
              (because scanners were then being used for all strip searches unless the
              inmate requested a strip search in its place), for purposes of this settlement
              and because summary judgment was granted to both classes, the Damages
              Class is defined for settlement purposes as “any female inmate at CRDF
              inmate who, upon their admission or return to CRDF, were visual body
              cavity searched in groups, without individual privacy between March 5
              2008 (two years before the filing of the complaint) and January 1, 2015.”
         9.   The “Class Notice” means the notice to be sent to Class Members regarding
              this Settlement, in a form substantially similar to that attached hereto as
              Exhibit B, or as otherwise approved by the Court, and such other summary
              notice to be published in accordance with the terms of this Settlement
              Agreement.
         10. The “Class Member List” is a list of Class Members. It is based solely on
              the records of the LASD. Only persons appearing on that list qualify as
              Class Members.
         11. The “Database” is the information provided in electronic form to the
              Administrator which information has been compiled from the electronic
              records of the LASD, as filtered to identify those meeting the class
              definition by the Parties’ experts.

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         12. The “Defendants” are the County of Los Angeles, the Los Angeles Sheriff’s
             Department, its prior Sheriff Leroy Baca, Sammy Jones, Timothy Cornell,
             John H. Clark, Stacey Lee, Dennis Burns, Gerald K. Cooper and Daniel
             Cruz.
         13. The “Effective Date” is the date on which the District Court issues an Order
             granting final approval of the Settlement Agreement, except that if any
             objections to the settlement were submitted to the Court, the Effective Date
             is the date of the final resolution of any appeal of the Final Approval of this
             Settlement Agreement, or if no such appeal is filed, the expiration of the
             deadline for filing a Notice of Appeal.
         14. The “Fairness Hearing” is the hearing on the fairness of this Settlement,
             which date will be set by the Court.
         15. The “Final Order of Approval and Settlement” is the Order finally
             approving the settlement, entered by the Court (which may also be referred
             to herein as “Final Order”).
         16. The “Lawsuit” refers to the action styled Amador et al. v. Baca et al., Case
             No. CV 10-01649 SVW (JEMx)..
         17. The “Motion for Attorney’s Fees and Costs” is Class Counsel's application
             for Attorneys' Fees and Costs.
         18. The “Named Plaintiffs” or “Class Representatives” refers to the plaintiffs
             named in the Fourth Amended Complaint to this suit, who are Mary
             Amador, Lora Barranca, Alisa Battiste, Nancy Briseño, Felice Cholewiak
             (Vargas), Evangelina Madrid, Diana Paiz, Diane Vigil and Myeshia
             Williams. While Lora Barranca, Diana Paiz and Diane Vigil were named
             solely as injunctive relief plaintiffs under §1983, they were damages
             plaintiffs under state law and Class Members. For purposes of this
             Settlement, no distinction is made between or among the Named Plaintiffs.
         19. “Preliminary Approval” is the Court's determination that the Settlement is
             within the range of possible approval and therefore that Class Notice should
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             be sent to Class Members and a Fairness Hearing should be set by the
             Court.
         20. The “Preliminary Approval Order” is an order entered by the Court
             preliminarily approving the Settlement, after which Class Notice, the
             opportunity to object and Opt Out, and entry of a Final Order of Approval
             and Settlement would occur.
         21. An “Opt-Out” is any Class Member who files a timely request for
             exclusion, pursuant to the terms of this Settlement Agreement, to be
             excluded from the Settlement Class. (If used as a verb, it refers to the
             process of filing such exclusion.)
         22. The “Proof of Claim Form” means the Proof of Claim and Release Form
             required to be used in order to make a claim for payment under this
             Settlement. A copy of the proposed Proof of Claim Form is attached as
             Exhibit C. The pre-prepared Claim forms shall be bar coded to link with the
             Class Member’s Database information and shall contain the damages to
             which the Class Member is entitled if s/he were to receive the full damages
             provided for in this agreement.
         23. “Released Person” means the Defendants and their affiliates, subsidiaries,
             predecessors, successors, and/or assigns, together with all past, present and
             future officials, employees, representatives, attorneys, outside counsel,
             and/or agents of Los Angeles County. “Released Person” also includes any
             and all insurance carriers, and/or their representatives and attorneys, for the
             Released Persons.
         24. “Remainder” refers to the amount in the Class Fund after payment of Class
             Counsel’s Attorney Fees, Class Counsel’s Litigation Costs, and mediation
             costs, and the Moss/CGJ Contracts. The “Minimum Remainder” is a figure
             used for purposes of determining whether cy pres payments are made and is
             based on the estimate of the maximum fees to be sought (1/3 of the $53
             Million Fund), and estimated litigation and class administration costs ($1.5
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             Million), and the Moss/CGJ Contracts (maximum $3 Million); thus the
             Minimum Remainder is estimated to amount to $330,883,000, which the
             Parties agree to round up to $341,000,000.
         25. The “Settlement” refers to this agreement.
         26. A “Settlement Class Member” (“SCM”) means any Class Member as
             defined above (whether or not she files a Timely Claim form), including
             representatives, successors and assigns, who does not file a valid and timely
             Request for Exclusion as provided for in this Settlement Agreement.
         27. The “Settlement Fund” is the fund established by the Administrator with
             funds transferred from Defendants from which the damages to the Class
             Representatives and Class Members will be paid. The Defendants will pay
             all moneys they are obligated to pay under the Preliminary Approval Order,
             and the settlement approved by the Court, if any, into the Settlement Fund.
         28. “Strip Search” means a search conducted by LASD personnel on a Class
             Member (as defined above) in which the person was required to remove her
             clothing, including underwear, in the presence of a corrections officer
             and/or expose her breasts, genitals or body cavities for a visual inspection.
             All persons appearing on the Class Member List were subjected to a strip
             search as defined herein.
         29. A “Timely Claim” is one filed a) within the 150-day window provided by
             the notice to be sent to the class, and b) to the extent the Court approves,
             late claims (i.e., claims filed after the Class Notice period) that are filed
             prior to the Final Approval Hearing.
                            III.   DISCLAIMER OF LIABILITY
            1.     The Parties acknowledge and agree that all undertakings and
      agreements contained in this Settlement Agreement have been agreed to solely for
      the purpose of finally compromising all questions, disputes and issues between
      them relating to the litigation. This Settlement Agreement and any proceedings
      taken pursuant hereto shall not in any event be construed as, interpreted as, or
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      deemed to be evidence of an admission or concession by either party for any
      purpose, or deemed to constitute a waiver of any legal position or any defenses or
      other rights which the Parties might otherwise assert in any context. Neither this
      Settlement Agreement nor any provision contained therein, nor any documents
      related hereto, nor any negotiations, statements or testimony taken in connection
      herewith may be offered or received as evidence, or used for any other purpose, or
      in any suit, action or legal proceeding which either of them have or in the future
      may have with any other person, as an admission or concession of liability or
      wrongdoing on the part of either party, except in connection with any action or
      legal proceeding to enforce this Settlement Agreement. The Parties have reached
      this Settlement through arms-length negotiations and to avoid the costs and delays
      of further disputes, litigation and negotiations among them and after extensive
      negotiations with an independent mediator, subject to approval by the Court. This
      Settlement Agreement has been entered into without any concession of liability or
      non-liability whatsoever and has no precedential or evidentiary value whatsoever.
       IV.   FINANCIAL TERMS OF SETTLEMENT AGREEMENT AND CLASS
                     DAMAGES ALLOCATION FORMULA
             2.    The Class Fund is the amount of $53,000,000. The class administration
      costs shall be paid out of that fund, as will any incentive awards to the Class
      Representatives as approved by the Court. (Class Counsel’s Litigation Costs will be
      addressed in Class Counsel’s Motion for Attorney’s Fees and Costs.) The
      Remainder of the Class Fund shall be distributed to the Class Members (including
      Named Plaintiffs/Class Representatives) under the formula terms provided in this
      Agreement.
             3.    Subject to approval of the Court at the hearing regarding the Final
      Order of Approval and Settlement, the following incentive awards shall be paid to
      the Named Plaintiffs (in addition to the share of the Class Fund to which they are
      entitled as Class Members). Class Counsel represent that they have no prior
      agreement with any Named Plaintiff to seek such awards, nor do they have any
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      commitment to propose them. They are proposed at the initiative of Class Counsel
      and are intended to reflect Named Plaintiffs’ commitment to, and active assistance
      in advancing, this Lawsuit since it was filed in 2010:
      NAME                                                   INCENTIVE AWARD
      Mary Amador                                            $10,000
      Lora Barranca                                          $10,000
      Alisa Battiste                                         $10,000
      Nancy Briseño                                          $10,000
      Felice (Cholewiak) Vargas                              $10,000
      Evangelina Madrid                                      $10,000
      Diana Paiz                                             $10,000
      Diane Vigil                                            $10,000
      Myeshia Williams                                       $10,000
                           TOTAL                             $90,000
            4.      It is not currently possible to determine the amount of the Remainder
      before the hearing regarding the Final Order of Approval and Settlement, where the
      final amount of Class Counsel’s Attorney’s Fees and Costs awards, and class
      administration costs , and the Moss/CGJ Contracts will be determined.
            5.      The formula for distribution of the Remainder has been developed by
      Class Counsel and, if approved by the Court, will be summarized in the Class
      Notice to be sent to Class Members. The formula is designed to account for the fact
      that the alleged severity of challenged conditions varied depending on the time
      period the Strip Search occurred (with the most intrusive conditions before July
      2011 and least intrusive conditions after February 2014 when the bus bay became
      enclosed and had heating), the number of Strip Searches an inmate experienced and
      the weather conditions when the Strip Search occurred.
            6.      To briefly summarize, Class Counsel’s assessment of these variations
      in conditions, which are factored into the class damages allocation formula, are as
      follows:

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           TIME PERIOD                                     CONDITIONS

      2/26/2014 – 1/31/2015               Conditions:

      (Core Conditions                     (1) female inmates required to participate in
      Applicable to All Class                 group Strip Searches in which the labia lift
      Members Regardless of                   procedure was used;
      Time Period)                        (2) female inmates required to publicly identify if
                                              they were menstruating, remove feminine
                                              hygiene products in view of other inmates;
                                              and
                                          (3) female inmates required to expose their naked
                                              body – including bare pubic region and bare
                                              breasts – in the presence of a group.
                                           (4) inmates searched in groups of 24 inmates (or
                                              more, see below).

      4/1/2013 – 2/25/2014            Conditions:

                                          All above conditions
                                      plus
                                          Group Strip Searches occurred in a converted
                                           bus garage with a chain link fence roof with a
                                           tarp on it and no heaters.
      7/1/2011 – 3/30/20131           Conditions:

                                          All above conditions
                                      plus
                                          Inmates searched in groups larger than 24
                                           inmates
                                          Inmates required to put clothing directly on
                                           the ground.
      3/5/2008 – 6/30/2011            Conditions:

                                          All above conditions
                                      plus
                                          Deputies simultaneously searched both lines
                                           of female inmates so that inmates were
                                           directly viewing each other during the Strip
      1
       This subclass was because LASD reduced its class sizes to a maximum of 25 and installed tables
      on which clothes could be placed in April 2013.
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           TIME PERIOD                                  CONDITIONS

                                         Search.


            7.     Based on the above considerations, Class Counsel have devised a
      distribution model in which Class Members are compensated based on the number
      of Strip Searches they endured, with searches weighted based on the time period in
      which they occurred (which, in turn, corresponds to the severity of conditions).
      Each Strip Search is assigned a point-value which will translate to a per-diem dollar
      value at the time of distribution. Class Members receive the designated number of
      points based on the number of Strip Searches in each category.
            8.     The chart below shows the categories, conditions associated with each
      category, and points assigned to each category.
            Time Period                         Points Per Strip Search
            3/8/2008 – 6/30/2011                100
            7/1/2011 – 3/31/2013                90

            4/1/2013 – 2/25/2014                80

            2/26/2014 – 1/31/2015               70

            9.     The distribution model also provides an additional 10-points for any
      Strip Search conducted at a temperature of 70 degrees or less.
            10.    The per-search points are assigned to each Class Member, up to their
      50th search. The “50-search cap” applies to less than .04% of the Class. This cap is
      to ensure that outliers who have outsized claims do not distort the meaningfulness
      of the recovery to the remaining Class Members. (Such outliers would be entitled to
      opt out and pursue their own claims if they so choose.)
            11.    That Class Member’s point total is the sum of all their assigned points.
      The final distribution will be based on the total points for each Class Member who
      filed claims, divided by individual points assigned to each claiming Class Member.

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      (If, for example, there is a total of 1,000,000 points for the aggregated Timely
      Claims, and Class Member “X” had a total of 200 points, Class Member “X” would
      receive .02% (or .0002) of the Remainder; if the Remainder is the Minimum
      Remainder of $31 Million, that Class Members would receive $6,200). These
      figures are purely hypothetical and should not be considered as reflective of any
      likely award. Because it is anticipated that not all Class Members will make Timely
      Claims, and this is a non-reversionary fund (except as provided in Section VI,
      below, for cy pres payments in the event of a low claim rate, which the Parties do
      not anticipate), a claiming Class Member’s share of the Remainder will be
      determined based on that Class Member’s share of the total points for Class
      Members who made Timely Claims.
            12.    No Class Member who filed a Timely Claim will receive less than
      $200 (the minimum will be at least $200 but may be adjusted upwards) subject to
      the limit of the Class Funds available in the Remainder. The minimum provision is
      designed to ensure that all Class Members who submit Timely Claims receive some
      recovery.
            13.    None of the Class Fund shall revert to the County. Accordingly, as
      explained above, the money per Class Member making a Timely Claim will
      increase proportionately to the extent that fewer Class Members make a claim.
            14.    Class Counsel intend to submit a separate Motion for Attorney’s Fees
      and Costs to be heard at the hearing regarding a Final Order of Approval and
      Settlement, to be analyzed under the standards for an award of fees and costs to a
      prevailing plaintiff under the percentage of the fund doctrine. While the motion will
      seek a percentage of the Class Fund as a fee award, subsumed within that request
      will be any statutory attorney’s fee to which Class Counsel would be entitled under
      42 U.S.C. § 1988 or Cal. Civil Code § 52.1(h). The Class Notice will advise Class
      Members of Motion for Attorney’s Fees and Costs and their right to object to it.
            15.    The LASD represents that to the best of its knowledge, it has provided
      all the electronic data in its possession, which it is legally authorized to produce,
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      regarding Class Members necessary to both identify and contact Class Members.
      The LASD shall provide to the Administrator, to the extent that such information
      has not already been provided, any such additional information in its possession
      which it is legally authorized to produce. Such information shall include date of
      birth, social security number (SSN), driver’s license/state ID number, and most
      recent contact information (address, phone and any other available contact
      information). In addition, LASD shall provide to the Administrator and Class
      Counsel the data from the Automated Justice Information System (“AJIS”)
      Released-to-Agency field indicating whether a Class Member was released to the
      custody of another law enforcement agency. This information may only be used to
      reach out to Class Members to ensure they receive the Class Notice and are aware
      of how to file a claim pursuant to this Agreement. LASD will make a written
      request to the California Department of Corrections and Rehabilitation (“CDCR”),
      which request will include a list of Class Members who were transferred to CDCR
      from LASD custody, and request that CDCR: (1) advise the Administrator of
      where and how the Class Notice to those Class Members still in CDCR physical
      custody should be sent; and (2) provide the Administrator with the most recent
      contact information in CDCR’s records (including records in the Division of Adult
      Parole Operations, where applicable) for each Class Members who is no longer in
      CDCR physical custody. When making the foregoing request to CDCR, LASD will
      provide to CDCR any individualized identifying information in its possession that it
      is legally authorized to include that could assist CDCR in identifying Class
      Members.
            If CDCR provides a response, LASD will then advise Class Counsel of
      CDCR’s response, and if CDCR either fails to respond or refuses to provide
      assistance, Class Counsel may seek Court assistance in securing the cooperation of
      CDCR to effectuate service of the Class Notice and to obtain the most up to date
      contact information for Class Members. Neither the County nor the LASD will
      have any further obligation with respect to efforts to obtain contact information for
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      Class Members from CDCR beyond the efforts described above, except that it will
      engage in any reasonable follow-up requested by CDCR. LASD will likewise have
      no further obligation to assist with securing cooperation regarding the provision of
      Class Notice to Class Members still in CDCR custody.
            Nothing in this agreement precludes Plaintiffs from seeking a court order
      authorizing the LASD to provide CII and FBI numbers directly to CDCR as part of
      efforts to identify Class Members and provide Class Notice to individuals who were
      previously transferred to CDCR. Should Plaintiffs file such a motion, they will
      serve the Attorney General of the State of California and the Federal Bureau of
      Investigation with the motion in order to provide each with the opportunity to be
      heard. Plaintiffs will not seek access to such records for themselves or for the
      Administrator.
                  V.    RELEASES AND OTHER SETTLEMENT TERMS
            16.    The Parties enter into this Agreement solely for the purposes of this
      Settlement and implementation of the Settlement. If the Settlement fails to be
      approved or otherwise fails consummation, then this Settlement Agreement is
      hereby withdrawn.
            17.    An SCM who complies with the requirements set forth in this
      Settlement Agreement and files a Timely Claim form will be paid specified sums
      determined by the distribution process set forth above, which payment shall be in
      full satisfaction of all claims of that SCM.
            18.    The Settlement Agreement, as of the Effective Date, resolves in full all
      claims against the Released Persons by all of the SCMs, including the Named
      Plaintiffs, involving violations of law or constitutional rights, including, without
      limitation, their equal protection rights under federal and California law, their rights
      under 42 U.S.C. § 1983 and California Civil Code § 52.1, any other rights under
      any other federal, state or local law, regulation, duty, or obligation, or any other
      legal theory, action or cause of action, which arise from the class-wide factual
      allegations alleged in the Fourth Amended Complaint, which is the operative
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      pleading in this matter ( “Covered Claims”).
               19.   When the Settlement Agreement is final, as of the Effective Date, all
      SCMs, including the Named Plaintiffs, waive all rights to any and all claims
      relating to damages or reimbursement of any kind for the Covered Claims. This
      waiver and release shall include a full release and waiver of unknown rights
      regarding the Covered Claims that may exist as of the Effective Date.
               20.   As of the Effective Date, the SCMs, including the Named Plaintiffs,
      hereby waive any and all rights to pursue, initiate, prosecute, or commence any
      action or proceeding before any court, administrative agency or other tribunal, or to
      file any complaint regarding acts or omissions by the Released Persons with respect
      to the Covered Claims during the class period; and further, as it relates to this
      waiver or Release, expressly waive the provisions of California Civil Code § 1542,
      which provides that “a general release does not extend to claims which the creditor
      does not know or suspect to exist in his or her favor at the time of executing the
      release, which if known by him or her must have materially affected his or her
      settlement with the debtor.”
               21.   This Settlement Agreement, together with its exhibits, contains all the
      terms and conditions agreed upon by the Parties regarding the subject matter of the
      instant proceeding, and no oral agreement entered into at any time nor any written
      agreement entered into prior to the execution of this Settlement Agreement shall be
      deemed to exist, or to bind the Parties, or to vary the terms and conditions
      contained herein, except as expressly provided herein.
               22.   Each SCM shall be deemed to have submitted to the jurisdiction of the
      Court.
               23.   This Settlement Agreement is subject to and conditioned on entry by
      the Court of a Final Order of Approval and Settlement and the issuance of the final
      order of dismissal by the Court, providing the specified relief as set forth below,
      which relief shall be pursuant to the terms and conditions of this Settlement
      Agreement and the Parties’ performance of their continuing rights and obligations
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      hereunder. The Final Order of Approval and Settlement shall be deemed final on
      the Effective Date. Such Final Order of Approval and Settlement shall:
            a. Dismiss with prejudice all claims in the action as to the Released Persons
                  including all claims for monetary damages, declaratory relief and
                  injunctive relief, each side to bear its own costs and fees except as
                  otherwise provided for in this Settlement Agreement;
            b. Order that all SCMs are enjoined from asserting against any Released
                  Person any and all claims that any SCM had, has or may have in the
                  future based on the Covered Claims;
            c. Release each Released Person from the claims that any SCM has, had or
                  may have in the future against such Released Person arising out of the
                  Covered Claims;
            d. Determine that this Settlement Agreement is entered into in good faith, is
                  reasonable, fair and adequate, and in the best interest of the Class; and
            e. Reserve the Court’s continuing and exclusive jurisdiction over the Parties
                  to this Settlement Agreement, including Defendants and SCMs, to
                  administer, supervise, construe and enforce the Settlement Agreement in
                  accordance with its terms for the mutual benefit of all Parties.
            24.      The Parties will take all necessary and appropriate steps to obtain
      preliminary and final approvals of the Settlement Agreement, and dismissal of the
      action with prejudice, all Parties bearing their own fees and costs unless otherwise
      set forth in this Settlement Agreement. If the Court gives final approval of this
      Settlement Agreement, and if there is an appeal from such decision, the Parties will
      defend the Settlement Agreement.
      VI.   CY PRES DISTRIBUTION IN THE EVENT OF A LOW CLAIM RATE
            25.      In order to ensure that Class Members do not receive a windfall
      because there are relatively few claims filed, the Parties agree that, if the total
      claims do not amount to the Minimum Remainder based on the following formula,
      the difference between those aggregated claims and Minimum Remainder will go to
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      the organizations identified in ¶ 30. The formula to determine whether such cy pres
      payments are to be made (referred to as the “Cy Pres Formula” shall be as follows:
                                     CY PRES FORMULA
                    # SEARCHES                                    AMOUNT
                    1-3                                           $5,000
                    4-6                                           $10,000
                    7-10                                          $15,000
                    11+                                           $20,000

            26.    Thus, by way of example only, if the Minimum Remainder is $31
      Million, 4000 Class Members filed claims (which the Parties agree is likely a low
      claim rate), and the average of their claims based on the Cy Pres Formula amounted
      to $9000 per claimant, the total would be $36,000,000, and no cy pres distribution
      would apply. In contrast, if 3000 people filed claims based on the same average
      $9000 per claimant and same $31 Million Minimum Remainder, then $4,000,000
      (the difference between the $31 Million Minimum Remainder and the $27,000,000
      claimed amount based on the Cy Pres Formula), would go to the Cy Pres Fund.
            27.    The foregoing formula only applies in the event that the total claims do
      not amount to the Minimum Remainder based on the Cy Pres Formula. Otherwise,
      the allocation formula set out in Section IV, above, applies.
            28.     The Cy Pres funds will not be returned to the County’s general fund
      but will instead be provided to non-profit organizations or programs which provide
      gender-responsive services to female inmates in LASD custody. At the time that it
      is determined that any Cy Pres funds are to be distributed, counsel for the Parties in
      this case and the LA County Board of Supervisors will work in good faith to
      identify the organizations or programs to receive those funds. If they cannot agree,
      the Parties will separately brief the Court, and the Court will determine the
      organizations and/or programs to which the Cy Pres funds will be paid.
                    VII. RESOLUTION AND PAYMENT OF CLAIMS
            29.    Defendants agree to the division of funds between Incentive Awards
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      and the Remainder as proposed by Class Counsel subject to the approval of the
      Court.
                                 VIII. CLASS COUNSEL FEES
               30.   Class Counsel will file a Motion for Attorney’s Fees and Costs on a
      percentage of the fund basis, and the payment of said fees and costs is subject to
      Court approval. Class Counsel will not seek more than 1/3 of the $53 Million Class
      Fund as the amount of attorney’s fees requested; Class Counsel may seek less but
      may not seek more. (This 1/3 cap is separate from Class Counsel’s costs, i.e., Class
      Counsel may request up to 1/3 of the Class Fund plus costs.)
                                IX.    CLASS ADMINISTRATOR
               31.   Counsel for the Parties will jointly agree on the selection of the Class
      Administrator and, if they cannot so agree, will submit their suggestions to the
      Court and the Court will determine the Administrator. The Parties understand the
      importance of a rapid process for choosing the Class Administrator and are
      committed to reaching a joint selection as soon as practicable.
               32.   The Administrator shall be responsible for taking any steps deemed
      appropriate and necessary by Class Counsel to notify the Class Members of their
      rights to file claims, and to assist them in doing so. Class Notice shall be issued
      electronically by email and text message (for all Class Members whose email
      addresses and mobile phone numbers can be and have been obtained) by the date
      set in the Preliminary Approval Order for the initial mailing of Class Notice. On
      that same date, Class Notice shall be provided by regular mail for all Class
      Members for whom an email address and mobile phone number have not been
      obtained, for all incarcerated Class Members.
               33.   For those Class Members whose initial Class Notice was sent by the
      combination of email and text message who have not responded by filing either a
      claim or an Opt Out within 30 days, they will be sent by regular mail the Class
      Notice previously provided to the other Class Members whose Class Notice was
      sent by regular mail, along with a statement that they were sent by email and text
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      message a Class Notice as well, and this is being sent to ensure that they have seen
      the Class Notice. (See, ¶ 40 for elaboration.)
            34.    The Administrator’s duty shall include the use of normal and
      customary means to search for a Class Member’s email addresses, mobile phone
      numbers and last known mailing addresses, including the use of a postal database
      and other specialized databases, when mail is returned. As indicated above, the
      Administrator shall initially send electronic copies of the Class Notice to any
      inmates for whom email addresses and mobile telephone numbers are ascertainable
      and at the same time send a hardcopy version and claim form to any Class Member
      whose email and mobile phone numbers are not ascertainable, as well as any Class
      Members who are currently incarcerated in California State prisons. (The
      Administrator is responsible for making reasonable efforts to determine Class
      Members who are now incarcerated in California state prisons). The Administrator
      will also propose economically viable and likely productive forms of notice through
      the use of social media and online advertising.
            35.    Beginning when it is first retained after the Court approves its
      appointment, the Administrator will begin to obtain as many Class Member email
      addresses and mobile phone numbers as reasonably possible. Before the filing of
      the Motion for Preliminary Approval, the Administrator will advise the Parties and
      the Court of when the Administrator believes it can reasonably obtain available
      Class Member email addresses, phone numbers and mailing addresses, and the date
      for mailing the Class Notice shall be set with that time in mind.
            36.    Notice shall proceed as follows:
                      1) Initial Class Notice shall commence with email and text notices
                         for all Class Members whose email addresses and/or mobile
                         phone numbers are ascertainable (assuming both are
                         ascertainable, Class Members will receive two forms of
                         electronic notice; if either the email address or mobile phone
                         number cannot be obtained, the notice will be sent via the
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                         available means).
                      2) On the same day, notice by regular mail shall be sent to all Class
                         Members for whom either an email address or mobile phone
                         number or both could not be ascertained. This means that all
                         Class Members will receive the Class Notice by either (1) email
                         and text; or (2) regular mail plus either email or text (assuming
                         one of the two is available); or (3) regular mail only (for those
                         whose email and mobile phone numbers cannot be located).
                      3) Thirty days after the initial issuance of Class Notice, the
                         Administrator will send notice by regular mail to all Class
                         Members who were initially notified only by electronic means
                         only (those who received notice by email and text) and who have
                         not yet submitted claim forms along with the explanation that
                         they were sent such electronic notice but this notice is being sent
                         as well because they did not file a claim or exclude themselves
                         from the settlement.
                      4) Throughout the notice period, the Administrator shall continue
                         to send email and text notice if and when it learns additional
                         email addresses/phone numbers for Class Members.
                      5) Where Class Notice is sent by email or text, the Class
                         Administrator will periodically remind Class Members through
                         email/text blasts to file claims. (If possible, procedures shall be
                         implemented to remove Class Members from email/text blasts
                         who have submitted claims).
            37.    The Administrator shall complete the initial Class Notice within two
      consecutive business days. The second day of such mailing is the first day of the
      period for calculating the “Bar Date” (defined previously). That mailing shall occur
      as soon as practicable after the settlement has been Preliminarily Approved and no
      later than the date set by the Court.
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            38.    The Class Notice shall describe the particulars of the case, provide the
      class definition, provide information for claimants to contact the Administrator for
      a claim form, notify Class Members of establishment of a case website, and contain
      other usual and customary information. The proposed Class Notice is attached to
      this Settlement Agreement as Exhibit B.
            39.    The Administrator will include in its bid a line item for the cost of
      obtaining from CDCR the identities of Class Members in CDCR custody to whom
      Class Notice should be sent at their CDCR housing location.
            40.    The Parties discussed and presently do not intend to publish Class
      Notice in local newspapers because experience has shown that such notice is of
      little value in notifying Class Members. Instead, mail, email and text notice will be
      supplemented through summary publication in Prison Legal News (a publication
      widely distributed to inmates throughout the country); and through selective social
      media/online outreach directly targeting Class Members’ Facebook and/or
      Instagram accounts.
            41.    If specifically requested by Plaintiffs’ counsel, the Defendants will
      seek to obtain the cooperation of CDCR (subject to the limitations set forth in
      Paragraph 15), and the Los Angeles County Probation Department to assist in
      locating Class Members, including, where Defendants believe legally permissible,
      providing more recent contact information for Class Members. The LASD will
      advise on its website of the existence of this Settlement and place a link on the
      website to connect viewers to the Administrator’s website. The LASD will also
      post physical copies of the Class Notice (Exhibit “B”) in CRDF Reception and Day
      Rooms.
            42.    The request for bid to potential Administrators included requests for
      all such potential activities as well as suggestions for other ways of reaching
      potential Class Members. That request for bid also requested economically viable
      proposals for means by which Class Members can receive payment through
      electronic means rather than by check. There will also be requests to nonprofits that
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      address criminal justice reform, reentry or programs for former inmates to provide
      notice on their websites and to their mailing lists.
        X.    CLASS ADMINISTRATION FOR PROOF OF CLAIM FORMS AND
                            PAYMENT SCHEDULE
             43.   The Administrator shall be responsible for providing and receiving
      Proof of Claim Forms in paper and electronic format. The Administrator shall
      determine Class Membership and the amount of monies due each timely claiming
      Class Member based on the formula contained in Section IV.
             44.   A Proof of Claim Form shall be deemed timely submitted under
      subsection (a) of Definition # 29 (Timely Claim) when received by the
      Administrator, or postmarked, on or before the Bar Date. Facsimile or electronic
      mail filings are acceptable and timely so long as they clearly indicate the case on
      which the claim is filed and are received on or before the Bar Date.
             45.   If a Class Member submits a Claim Form that is deficient in some
      respect, the Administrator shall provide written notice by First Class Mail and a 30-
      day time limit to provide a proper Claim Form, which notice shall inform the Class
      Member of what she must do in order to submit a proper claim. Failure to cure the
      deficiency within the 30-day time limit will bar any further rights for consideration
      of eligibility to make a valid claim. So long as the original claim is received on or
      before the Bar Date, it shall be considered timely under sub-section (a) of
      Definition # 30 (Timely Claim) if any deficiency is cured within 30 days of the
      mailing of a notice of deficiency.
             46.   Claim Forms received after the Bar Date shall be rejected. The
      Administrator will notify claimants of the rejection of untimely Claims.
             47.   The $53 Million payment shall be made in three equal installments, the
      first of which shall be made 30 days after the Effective Date, the second of which
      shall be made twelve months after the first payment, and the third of which shall be
      made twelve months after the second payment.
             48.   The costs of Class Administration through the Final Order of Approval
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      and Settlement and the first round of distribution of checks will be taken from the
      first payment; 1/3 of the costs of the Moss/CGJ Contracts shall be taken (or held for
      that purpose by the Administrator) from each payment.
            49.    For each payment, 1/3 of the total Attorney’s Fees and Costs awarded
      by the Court to Class Counsel shall be paid into the KMBL Client Trust Account
      and the remaining funds shall be paid to the Class Administrator for distribution
      under the terms of this Agreement.
            50.    The Class Administrator shall take its accrued and reasonably
      projected costs of administration for that round from the second and third round of
      payments.
            51.    In addition to the first round of payment to qualifying Class Members,
      the Administrator will advise them of the estimated time of payments to be made in
      the second and third rounds and advise Class Members to keep them apprised of
      any address changes.
            52.    The Administrator shall make the first round of payments to SCMs
      who have filed Timely Claims as ultimately determined by the Court in accordance
      with this Settlement Agreement within a reasonable time not to exceed 90 days
      after the Effective Date.
            53.    If a check to an SCM is not cashed within three months of its mailing,
      the Administrator shall hold the funds for nine additional months, during which
      time it shall make reasonable efforts to contact the person to whom the uncashed
      check was written to make arrangements for its cashing or reissuance. The
      Administrator shall not make any payment to any SCM until all claims have been
      submitted to the Administrator pursuant to the terms of this Settlement Agreement.
            54.    Any SCM funds not cashed within one year of a check’s initial mailing
      shall be voided, and those funds (“Uncashed Funds”) shall held for the next round
      of payments. Where an SCM’s check was not cashed within that one year period,
      that SCM shall be eliminated as a qualifying Class Member, and that SCM’s past
      and future funds shall become part of the fund for future distribution to Class
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      Members, and allocated to the remaining SCM’s during the next round of payments
      according to the Class Damages Allocation Formula contained in Section IV.
            55.    Uncashed funds remaining in the Class Fund one year after the third
      round of payments shall be given as a donation to the Cy Pres Fund (see ¶ 30), to
      be allocated equally among the qualifying organizations/ programs.
         XI.          EXCLUSION FROM SETTLEMENT CLASS—OPT OUTS
            56.    Any Class Member who wishes to be excluded from this Settlement
      must submit a request to be excluded from the class, a process defined herein as
      “Opt-Out.” The request for exclusion must be delivered to the Administrator, or
      postmarked, on or before the Bar Date or as the Court may otherwise direct.
            57.    Although Named Plaintiffs are entitled to Opt-Out of the Settlement,
      Plaintiffs’ counsel has conferred with each of them, and they all approve of and
      support the settlement, and have advised that they do not intend to Opt-Out.
            58.    Each Class Member who chooses to Opt-Out from or object to this
      Settlement shall be deemed to have submitted to the jurisdiction of the Court with
      respect to his/her claim.
            59.    Any Class Member who does not Opt-Out as set forth in this
      Settlement Agreement, shall be deemed conclusively to have become an SCM and
      to be bound by the Settlement Agreement and all subsequent proceedings, orders
      and judgments herein, regardless of whether s/he files a claim form.
            60.    Any Class Member who exercises an Opt-Out shall not share in any
      monetary benefits provided by this Settlement Agreement.
            61.    The Administrator will periodically report to Defendants’ counsel and
      Class Counsel regarding all Opt-Outs received and will determine and report to
      counsel the total number of Opt-Outs no later than 10 days after the Bar Date.
            62.    If the total number of Opt-Outs exceeds 250 individuals, Defendants,
      in their sole discretion, may rescind this Settlement Agreement. In exercising this
      right of rescission, Defendants shall provide the Administrator and Class Counsel
      with written notice of rescission within 20 days after receipt of the Administrator’s
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      report providing the total number of Opt-Outs. In the event Defendants exercise the
      right of rescission in accordance with this paragraph, any funds paid or deposited
      pursuant to this Settlement Agreement shall be returned to Defendants within 10
      days of the rescission, less any expenses, fees and costs incurred by the
      Administrator. Rescission shall return the Case to active litigation status.
                               XII. APPROVALS REQUIRED
            63.    The Los Angeles County Board of Supervisors has approved the terms
      of this Settlement although, after Final Approval, it will have to finally approve the
      Final Order of Approval and Settlement.
                               XIII. DISPUTE RESOLUTION
            64.    In the event of any disputes regarding implementation of the
      Settlement Agreement as set forth herein, they shall be resolved by the Court.
                           XIV. THE MOSS/CGJ CONTRACTS
      65.   Plaintiffs and Class Counsel agree that the Moss/CGJ Contracts constitute
      Subsequent Remedial Measures in response to the events underlying this litigation
      pursuant to Rule 407 of the Federal Rules of Evidence (and similar statue statutes
      like California Evidence Code § 1151). Plaintiffs and Class Counsel also agree that
      any reports generated by the Moss Group or CGJ pursuant to contracts entered into
      under the terms of this Settlement Agreement are statements of those entities and do
      not constitute party statements of Los Angeles County or the LASD within the
      meaning of Rule 801 of the Federal Rules of Evidence (and similar statue statutes
      like California Evidence Code § 1220).
            66.    The initial reports prepared by the Moss Group or CGJ paid for by
      funds provided under this Settlement Agreement will be provided to the Board of
      Supervisors and to Class Counsel. Class Counsel will also receive copies of the
      non-privileged portions of follow up reports back to the Board about the Moss
      Group/CGJ Reports or Contracts by any County agencies. All such reports provided
      to Class Counsel shall be confidential and will not be publicized or disclosed to any
      other party, except to the extent they have been made public by the Board.
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            67.    Any reports prepared by the Moss Group or CGJ are their analyses and
      recommendations. Nothing in this Agreement requires that they be accepted or
      implemented by Defendants, who reserve the right to decline to implement any
      recommendation made in the Moss/CGJ Contracts for any reasons.
                                 XV.XIV.       INTEGRATION
            68.65. This Settlement Agreement supersedes all prior communications
      regarding the matters contained herein between the Parties or their representatives.
      This Settlement Agreement is an integrated agreement and contains the entire
      agreement regarding the matters herein between the Parties, and no representations,
      warranties or promises have been made or relied on by any party hereto other than
      as set forth herein. This Settlement Agreement was drafted by counsel for the
      Parties hereto, and there shall be no presumption or construction against any party.
         XVI.XV.     FAIRNESS HEARING AND FINAL ORDER OF APPROVAL
            69.66. Before this Settlement Agreement becomes final and binding on the
      Parties, the Court shall hold a Fairness Hearing to determine whether to enter the
      Final Order of Approval and Settlement. A proposed Final Order of Approval and
      Settlement shall be submitted to the Court incorporating the terms of this
      Settlement Agreement and addressing related information such as Objections and
      Opt-Outs.
              XVII.XVI. NO THIRD PARTY BENEFICIARIES INTENDED
            70.67. This Settlement Agreement does not and is not intended to create any
      rights with respect to any third Parties, except as otherwise provided herein.
                            XVIII.XVII.          COUNTERPARTS
            71.68. This Settlement Agreement may be signed in counterparts.



      DATED: _________________                     KAYE, MCLANE, BEDNARSKI &
                                                   LITT


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                                                 By: _________________________
                                                             Barrett S. Litt


                                                 By: _________________________
                                                            Lindsay Battles
                                                         Attorneys for Plaintiffs

      DATED: _________________                   GLASER WEIL

                                                 By: _________________________
                                                             Andrew Baum
                                                        Attorneys for Defendants




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            LIST OF EXHIBITS TO SETTLEMENT AGREEMENT


            Exhibit B        Class Notice
            Exhibit C        Proof of Claim and Release Form




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                                                            Exhibit C
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          (Class Action Lawsuit Against LASD for Strip Searches at CRDF)
                         Amador v. Baca - CV 10-01649 SVW


                           Class Action Settlement Notice

 Amador v. Baca is a class action lawsuit against the Los Angeles County Sheriff’s
 Department (“LASD” or “County”). It challenges the way LASD performed strip
 searches at the Century Regional Detention Facility (“CRDF”), located in
 Lynwood, CA. In 2017, the court found the LASD’s search practices were
 unconstitutional. The parties have now reached a settlement. If the Court approves
 the settlement, class members will receive money.

 You are a class member and may be entitled to money if you were searched in a
 group, upon entering or returning to CRDF, between March 5, 2008, and January
 31, 2015. Class members could be entitled to several hundred dollars per search,
 and thousands of dollars for those searched many times. Anyone who qualifies and
 files will get at least $200.

 You may be entitled to receive MONEY, but only if you FILE a CLAIM no later
 than [date]. DON’T DELAY.

 There are three ways to file a claim:

    (1)     Go to [website]
    (2)     Email a copy of the enclosed claim form [email]
    (3)     Mail a copy of the enclosed claim form [address]

 If you do not submit a claim, you will receive no money.

 If you have questions, email or call 1-_______. The following pages provide more
 information and answer common questions.

 Esta Notificación de arreglo colectivo está disponible en español. Llame sin
 cargo: 1-__________o visite el siguiente sitio web: www.________.com.




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                                     Questions:

    1. Who is part of this case?

 You are a class member (part of this case) if you were strip searched in a group,
 outside in the bus garage, while entering or returning to the Lynwood Jail
 (“CRDF”). The case covers such searches for the period March 5, 2008 to January
 31, 2015. Only LASD records will be used to decide who is a class member.

    2. Who is the judge presiding over the case?

 This case was filed in United States District Court. The Judge is United States
 District Court Judge Stephen Wilson. Judge Wilson will decide whether the
 settlement is fair to class members.

    3. Why am I receiving this notice?

 The court is sending this notice to everyone who may qualify as a class member. If
 you are a class member, the settlement will affect your rights. You have a right to
 know about the settlement and your choices.

    4. Who are the lawyers representing class members?

 The Court has approved a team of lawyers (called “Class Counsel”) to collectively
 represent you. These lawyers have been working on this case since 2010. You
 don’t have to pay your own money for the work these attorneys have done. Instead,
 the lawyers will ask to be paid from the total settlement fund. You can hire your
 own lawyer to advise you if you want but don’t need to.

    5. How much money will the LASD pay and how will it be distributed?

 The settlement provides for payment of a total of $53 million dollars. Here’s how
 the money will be divided:

       a. Between approximately $34 million to $39 million will be divided among
          class members who file claims. (How much depends on certain decisions
          the Court makes.)

       b. The attorneys will be paid fees not to exceed one-third (33.33%) of the
          total fund, plus case expenses, which could be up to approximately
          $18,000,000 if plaintiffs’ counsel requests 1/3. The Court may pay the
          attorneys less than 33% but not more.

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       c. Payment of $10,000 to each of the 9 class representatives for their role in
          starting and supporting the case.

       d. Additional payments to a court appointed class administrator to notify the
          class and distribute the money.

    6. How much money will I receive?

 Each class member who submits a claim will receive a share of the settlement
 based on the total number of claimants (people who submit claims). The money
 will be divided among the claimants based on several things: the number of
 searches each person had, the weather when the search happened, and how bad the
 lack of privacy was during the search (the earlier searches were generally worse).
 Each person will receive a certain number of points based on these issues, and the
 settlement will be divided based on each person’s points.

 If you don’t file a claim on time, you will get no points and no money. It is divided
 only to those who file on time.

 No class member who files a claim will receive less than $200 (for one search
 under the least bad conditions). Persons with the highest number of searches – up
 to 50 will count for points – will likely receive thousands of dollars.

    7. How much will the lawyers be paid?

 The court will decide how much they will be paid. The lawyers may ask the Court
 for a fee of up to one-third (33.33%) of the total available class fund (one-third of
 53 million), plus case expenses, which could be up to $18,000,000 if plaintiffs’
 counsel requests the full 1/3. The Court can award less than that, but not more.

 You will not personally pay any attorneys’ fees that the court awards to the
 attorneys.

    8. If I do not like the settlement – or some part of it – how do I tell the
       Court?

 You can stay a class member and object to all or part of the settlement . If you
 object, you must tell the court specifically what you think is unfair about the
 settlement or request for fees.

 To do this, mail a written statement with the case name and number at the top of
 the page (Amador v. Baca, Case No. CV 10-01649 SVW). Include your name,

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 your address, your telephone number, signature and the reason why you object. (If
 you previously used a different name, include any names you have used.)

 Your objections must be mailed and postmarked no later than [date]. You must
 send your objection and copies to all the people in the chart below.
   Clerk of the District   Kaye, McLane, Bednarski & Litt   Glaser Weil
   Court
                           Attn: Julia White                Attn: ___________
                           975 E. Green Street              10250 Constellation Blvd #19
                           Pasadena, CA 91106               Los Angeles, CA 90067

                           [counsel for Plaintiffs]         [counsel for LASD]



 The Court will consider your objection and decide whether to overrule it or change
 the settlement agreement. You will only be allowed to appear at the hearing and
 argue your objection to the court if your objection states you wish to do so.

 If the court accepts or rejects your objection, you remain a member of the class and
 will be bound by the settlement agreement, and will get your share of the
 settlement. (This means you’re giving up claims against the LASD for strip
 searches covered by this case.)

    9.      Can I exclude myself from the settlement?

 If you do not want to be a member of the class at all, or if you want to be able to
 file your own lawsuit, or be part of a different lawsuit, then you must take steps to
 exclude yourself. This is sometimes is referred to as “opting out” of the class.

 To do this, mail a written statement with the case name and number at the top of
 the page (Amador v. Baca, Case No. CV 10-01649 SVW). Include your name,
 your address, your telephone number, signature and a statement that you wish to
 exclude yourself or similar words. (If you previously used a different name,
 include any names you have used). You don’t need to explain why you are
 excluding yourself.

 You must mail your Exclusion Request, postmarked no later than [date], to:

 Amador v. Baca Settlement Administrator
 ________________
 ________________

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    10.   What is the difference between objecting and excluding yourself?

 Objecting is telling the Court that you do not like something about the settlement
 but staying in the case. Excluding yourself or “opting out” is telling the Court that
 you do not want to be part of the case. If you exclude yourself, you cannot object
 because you are no longer part of the case, and it doesn’t affect you.

    11.   What if I do nothing?

 If you do nothing, you will receive no money from the settlement and you will be
 giving up your rights against the County. Be sure to file a claim form unless you
 exclude yourself.

    12.   Am I giving up any rights?

 People who submit claims, object or do nothing, give up their right to sue the
 LASD (or its employees) for claims covered by this case. This means that you will
 not be able to sue the LASD for strip searches that occurred when entering or
 returning to CRDF between March 5, 2008 and January 31, 2015. You are not
 giving up claims against the LASD unrelated to this case.

 People who exclude themselves (“opt out”) do not give up claims because they are
 no longer part of the case.

    13.   When will the judge decide whether to approve the settlement?

 The Court has scheduled a hearing for [date/time] to decide if the settlement is fair.
 If the Court decides it is, it will approve the settlement and will determine the
 attorneys’ fees and costs to be awarded. The hearing date may change. There will
 not be a new notice if it does.

 [hearing location]

 You can come to the hearing, but you do not have to. The attorneys handling the
 case will answer any questions the Court may have.

 If you submitted an objection and indicated that you wanted to speak at the
 hearing, the Court may permit you to speak.

    14.   When will I receive money from the settlement?

 The Court has set the last day to submit a claim for [date].


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 If you do not submit a claim by then, you get no money. So file early.

 After final court approval, it will take at least two to three months, and possibly
 more, to process claims and calculate the amount due to each class member, and
 begin payments.

 Because of the large size of the fund, the County will pay the claims (and
 attorney’s fees and costs) in three payments, a year apart. Class members will be
 paid in one, two or three payments, depending on how large their claim is. You
 will be notified with the first payment of whether and when you will receive
 additional payments.

 After you file a claim, check the website for this case about the status of court
 approval and when payment mailings are expected. Or contact the class
 administrator by calling: 1-855-233-1237 or via the website
 www.lynwoodstripsearch.com.

    15.    Where can I learn more?

 For more details, go to the website titled www.lynwoodstripsearch.com. The
 website has links to the complete settlement documents in this case, as well as the
 motion for attorneys’ fees. If you still have questions, you may call 1-855-233-
 1237




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                                                            Exhibit D
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                                    Amador v. Baca
                                                    c/o JND Legal Administration
                                                           P.O. Box XXXX
                                                          Seattle, WA 98111
                                                  CLASS ACTION CLAIM FORM
   In order to receive money from the Settlement, please complete and return this Claim Form to the
      Settlement Administrator at the above address (postmarked by DATE). DO NOT DELAY.

   ||||||||||||||||||||||||||||||||| Claim #:                                 Name/Address Changes (if any)
   First Last (pre-print)
   c/o (pre-print)
   Address (pre-print)                                              First Name             Last Name
   City, ST Zip (pre-print)

                                                                    Address


Email address:                                                                                  ,
                                                                    City                            State   Zip


Mobile Phone Number                                                  Alternate Phone (if any)

(         )                                                         (         )
Area Code                                                           Area Code

Date of Birth: ______ / ______ / ______
               Month Day         Year

Last 4 Digits of Social Security Number: ____ ____ ____ ____

Other Names I Have Used:

By signing this form, I am confirming under penalty of perjury:
   1. I am the person identified above.
   2. Between March 5, 2008 and January 31, 2015, I was strip-searched in a group, in an outdoor area at the
      Century Regional Detention Facility (“CRDF” or “Lynwood”).
   3. I understand I will be limited to the formula for damages approved by the Court and that determinations
      of the number of times I was searched and dates of my searches will be based exclusively on the records
      of the Los Angeles Sheriff’s Department (the “LASD”).

Date:                                           Signature:
          (mm/dd/yyyy)

You must keep the Settlement Administrator apprised of your contact information at all times. If you move, please
immediately update the settlement administrator by mail at the address above or by e-mail at
info@lynwoodstripsearch.com.

                 Questions? Visit www.LynwoodStripSearch.com or call toll-free at 1-855-223-1237.
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                                                            Exhibit E
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 PROPOSAL FOR

 Amador v. Baca



 SEPTEMBER 19, 2018




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 CLAIMS RATE - 15%                         #:14266
                                                                                                                                                                              Confidential
                                                                                                                                                                   Jennifer Keough - CEO
                                                                                                                                                                           (206) 919-5768
                                                                                                                                                               jennifer.keough@jndla.com

      Barrett S. Litt, Esq.| Kaye, McLane, Bednarski & Litt, LLP | blitt@kmbllaw.com
      Lindsay Battles, Esq.| Kaye, McLane, Bednarski & Litt, LLP | lbattles@kmbllaw.com
      Julia White, Esq.| Kaye, McLane, Bednarski & Litt, LLP | jwhite@kmbllaw.com
      Amador v. Baca


Assumptions and Notes:
1.    Assumes class size of 94,000
2.    Publication of notice in Prison Legal News and publication through social media
3.    Research and identify class members in custody of California Department of Corrections and Rehabilitation or county agencies (assumes 10% of class)
4.    Perform searches with TransUnion to find current addresses, email addresses, and mobile phone numbers for each class member (assumes 60% hit rate)
5.    Notice packet mailing via USPS to estimated 100% of class members (assumes 6-page Notice and 1-page Claim Form with BRM envelope)
6.    TransUnion search performed for undeliverable mail without forwarding address (assumes 60% hit rate)
7.    Email notice campaign to estimated 60% of class members
8.    Disseminate notice via text message to class members when mobile number is known and Court approved (assumes 60% of class members)
9.    Translation of notice and claim form into Spanish
10.   Undeliverable mail (assumes 33% rate) with forwarding address will be remailed and skip-tracing for the remainder
11.   Mail notices to those who were initially notified via email or text message if they have not filed a claim or opted-out within 30 days
12.   Includes regular email or text communication to class members regarding importance of filing a claim and cut-off date for consideration
13.   Toll-free number staffed with CSRs to respond to claimant questions (assumes 5% call rate and 5 min. per call)
14.   Interactive settlement website designed with mobile phone accessibility and online claim form submission capability
15.   Receive and process opt-outs
16.   Receive and process claims (assumes 15% filing rate or 14,100 claims filed)
17.   Payments will be issued in installments over 3 years, with a total of 40,000 checks issued
18    Payments will be issued via check or electronic payment option (assumes 40,000 checks/electronic payments)
19    Handle uncashed checks and check reissues
20    Includes reporting to Counsel
21    Assumes project duration of 42 months


                                                                                                                                                                          Cost Estimate
Project Management
    Interaction with counsel, status reports, supervision of project team, resolution of issues, court report
                                                                             Estimated Months:                42
                                                                                                                                                                      $           50,300
Case-Specific Website with Online Filing
   Develop and host pre-existing dedicated website with online claim filing capability
                                                                                                                                                                      $            5,000
Publish Notice
   Finalize notice content, coordinate placement                                                                                                         $     500
      Publish in Prison Legal News ; Facebook                                                                                                                 TBD
                                                                                                                                                                      $              500
Call Center
    Set up toll-free number and IVR menu, answer and document calls; monthly and per-minute charges
                                                                        Estimated Calls:          4,700
                                                                                                                                                                      $           36,750
Research Current Addresses, Email Addresses, and Mobile Phone Numbers
   Perform TransUnion search to identify current addresses, email addresses, and mobile numbers
            Total Searches Performed                                                                                                           94,000
            Per Search Charge (Returning Multiple Data Points)                                                                     $             0.07
                                                                                                                                                         $    6,345
                                                                                                                                                                      $            6,345
Identify & Contact Class Members in Current Custody
    Identify and contact class members in custody of California Department of Corrections and Rehabilitation
               Estimated number of class members currently in custody (10%)                                                                     9,400
               Number of Searches                                                                                                                 500
               Number of Minutes per Search                                                                                                          1
               Hourly Rate for Searches                                                                                            $               55
               Estimated Total for Searches                                                                                        $              460
                                                                                                                                                         $     460
                                                                                                                                                                      $              460

Database Management
    Class list clean-up; create mailing list                                                                                                             $    1,750
      Electronic Data Storage                                                                                                                            $    3,750
      Create project specific database; develop processing procedures                                                                                    $    1,400
                                                                                                                                                                      $            6,900

Text Message Notice & Follow-up                                                                                                                              Continued on Next Page
    Perform notice via text message for initial notice and follow-up
             Estimated Number of Class Members Receiving Text Messages (60%)                            56,400
             Estimated Number of Texts per Class Member over Course of Project                                5
             Estimated Total Number of Texts (over entire project)                                     282,000
             Set-up                                                                              $         150                     $              150
             Monthly Charge                                                                      $          50                     $            2,100
             Per Text Charge                                                                     $       0.025                     $            7,050
                                                                                                                                                         $    9,300
                                                                                                                                                                      $            9,300

Email Notice
   Create list for email, finalize content, implement email notice (60% of class)
                                                                             Estimated Emails:          56,400
                                                                                                                                                                      $            1,600
Mail Notice
    Format/quality review notice                                                                                                                         $     700
      Print and mail notice
                Estimated items mailed                                                                  94,000
                Printing/Materials/Mailing Services                                              $        0.24                     $           22,560
                                                                                                                                                         $   22,560

      Spanish translation of notice and claim form                                                                                 $            1,800
                 Electronic Data Storage                                                                                                               $            3,750
                 Create project specific database; develop processing procedures                                                                       $            1,400
                    Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 84 of 91 Page
                                                                                             $  ID                                                                                  6,900

             Text Message Notice & Follow-up
                                                     #:14267
                 Perform notice via text message for initial notice and follow-up
                          Estimated Number of Class Members Receiving Text Messages (60%)                            56,400
                          Estimated Number of Texts per Class Member over Course of Project                                5
                          Estimated Total Number of Texts (over entire project)                                     282,000
                          Set-up                                                                              $         150              $      150
                          Monthly Charge                                                                      $          50              $    2,100
                          Per Text Charge                                                                     $       0.025              $    7,050
                                                                                                                                                       $            9,300
                                                                                                                                                                              $     9,300

             Email Notice
                Create list for email, finalize content, implement email notice (60% of class)
                                                                                          Estimated Emails:          56,400
                                                                                                                                                                              $     1,600
             Mail Notice
                 Format/quality review notice                                                                                                          $              700
                 Print and mail notice
                           Estimated items mailed                                                                    94,000
                           Printing/Materials/Mailing Services                                                $        0.24              $   22,560
                                                                                                                                                       $           22,560

                 Spanish translation of notice and claim form                                                                            $    1,800

                 Track undeliverables; remail forwards                                                                                   $    2,750
                 Research undeliverables (skip-trace); remail                                                                            $   12,250

                                                                                                                                                       $           16,800
                                                                                                                                                                              $    40,060
             Follow-up Notice
                 Regularly provide follow-up notice to class members via email                                                                                                $     1,600

                 Regularly provide follow-up notice to class members via text message
                          Included in Text Message Notice & Follow-up, above

             Process Forms*
                 Process mailed forms                                                                         Estimated forms received       14,100
                                                                                                              Cost per form              $     2.95
                                                                                                                                                       $           41,595
                 Validate forms; final review; identify and resolve issues                                                                             $            5,950

                     *Online claim form processing will be $0.75 per claim                                                                                                    $    47,545
             Process Opt Outs
                 Process mailed opt-outs; validate forms; final review; identify and resolve issues
                                                                                                                                                                              $      250
             Distribute Benefits via Mailed Check
                 Calculate, review, and implement individual benefits                                                                                  $            2,100
                 Establish QSF/Tax ID; account setup and management; reconciliation                                                                    $            3,500
                 Create check language; design, format checks; manage mailing                                                                          $              700
                 Printing and mailing costs
                           Estimated Items Mailed (over 3 Installments)                                              40,000
                           Printing/Materials/Mailing Services                                                $        0.33              $   13,200
                           Bank Processing                                                                    $        0.20              $    8,000
                                                                                                                                                       $           21,200
                 Research undeliverables (skip-trace); remail; reissue checks                                                                          $            5,000
                                                                                                                                                                              $    32,500
             Distribute Benefits via Electronic Payment
                 PayPal Payment                                                                                                                            2% of funds sent

                 Visa Prepaid CheckCard                                                                                                                               TBD

                                                                                                                                                           Sub-Total Fees $       239,110

             Expenses
                Expenses included but not limited to postage, P.O. Box, NCOA, BRM processing charge, etc.
                Postage is estimated and JND will obtain best possible presort discounted rate.                                                                               $    76,444
                                                                                                                                                      Sub-Total Expenses $         76,444

                                                                                                                                                 Total Fees & Expenses $          315,554

                                                                                                                                                                        SM
                                                                                                                                                              PriceLock       $   363,000


st Estimate - Amador v. Baca - 15% Updated
del: V1.0
        Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 85 of 91 Page ID
CLAIMS RATE - 25%                        #:14268
                                                                                                                                                                             Confidential
                                                                                                                                                                  Jennifer Keough - CEO
                                                                                                                                                                          (206) 919-5768
                                                                                                                                                              jennifer.keough@jndla.com

      Barrett S. Litt, Esq.| Kaye, McLane, Bednarski & Litt, LLP | blitt@kmbllaw.com
      Lindsay Battles, Esq.| Kaye, McLane, Bednarski & Litt, LLP | lbattles@kmbllaw.com
      Julia White, Esq.| Kaye, McLane, Bednarski & Litt, LLP | jwhite@kmbllaw.com
      Amador v. Baca


Assumptions and Notes:
1.    Assumes class size of 94,000
2.    Publication of notice in Prison Legal News and publication through social media
3.    Research and identify class members in custody of California Department of Corrections and Rehabilitation or county agencies (assumes 10% of class)
4.    Perform searches with TransUnion to find current addresses, email addresses, and mobile phone numbers for each class member (assumes 60% hit rate)
5.    Notice packet mailing via USPS to estimated 100% of class members (assumes 6-page Notice and 1-page Claim Form with BRM envelope)
6.    TransUnion search performed for undeliverable mail without forwarding address (assumes 60% hit rate)
7.    Email notice campaign to estimated 60% of class members
8.    Disseminate notice via text message to class members when mobile number is known and Court approved (assumes 60% of class members)
9.    Translation of notice and claim form into Spanish
10.   Undeliverable mail (assumes 33% rate) with forwarding address will be remailed and skip-tracing for the remainder
11.   Mail notices to those who were initially notified via email or text message if they have not filed a claim or opted-out within 30 days
12.   Includes regular email or text communication to class members regarding importance of filing a claim and cut-off date for consideration
13.   Toll-free number staffed with CSRs to respond to claimant questions (assumes 5% call rate and 5 min. per call)
14.   Interactive settlement website designed with mobile phone accessibility and online claim form submission capability
15.   Receive and process opt-outs
16.   Receive and process claims (assumes 25% filing rate or 23,500 claims filed)
17.   Payments will be issued in installments over 3 years, with a total of 40,000 checks issued
18    Payments will be issued via check or electronic payment option (assumes 40,000 checks/electronic payments)
19    Handle uncashed checks and check reissues
20    Includes reporting to Counsel
21    Assumes project duration of 42 months


                                                                                                                                                                         Cost Estimate
Project Management
    Interaction with counsel, status reports, supervision of project team, resolution of issues, court report
                                                                            Estimated Months:                 42
                                                                                                                                                                     $           50,300
Case-Specific Website with Online Filing
   Develop and host pre-existing dedicated website with online claim filing capability
                                                                                                                                                                     $            5,000
Publish Notice
   Finalize notice content, coordinate placement                                                                                                       $      500
      Publish in Prison Legal News ; Facebook                                                                                                                 TBD
                                                                                                                                                                     $              500
Call Center
    Set up toll-free number and IVR menu, answer and document calls; monthly and per-minute charges
                                                                       Estimated Calls:          4,700
                                                                                                                                                                     $           36,750
Research Current Addresses, Email Addresses, and Mobile Phone Numbers
   Perform TransUnion search to identify current addresses, email addresses, and mobile numbers
            Total Searches Performed                                                                                                         94,000
            Per Search Charge (Returning Multiple Data Points)                                                                    $            0.07
                                                                                                                                                       $     6,345
                                                                                                                                                                     $            6,345
Identify & Contact Class Members in Current Custody
    Identify and contact class members in custody of California Department of Corrections and Rehabilitation
               Estimated number of class members currently in custody (10%)                                                                   9,400
               Number of Searches                                                                                                               500
               Number of Minutes per Search                                                                                                        1
               Hourly Rate for Searches                                                                                           $              55
               Estimated Total for Searches                                                                                       $             460
                                                                                                                                                       $      460
                                                                                                                                                                     $              460

Database Management
    Class list clean-up; create mailing list                                                                                                           $     1,750
      Electronic Data Storage                                                                                                                          $     6,000
      Create project specific database; develop processing procedures                                                                                  $     1,400
                                                                                                                                                                     $            9,150

Text Message Notice & Follow-up                                                                                                                               Continued on Next Page
    Perform notice via text message for initial notice and follow-up
             Estimated Number of Class Members Receiving Text Messages (60%)                            56,400
             Estimated Number of Texts per Class Member over Course of Project                                5
             Estimated Total Number of Texts (over entire project)                                     282,000
             Set-up                                                                              $         150                    $             150
             Monthly Charge                                                                      $          50                    $           2,100
             Per Text Charge                                                                     $       0.025                    $           7,050
                                                                                                                                                       $     9,300
                                                                                                                                                                     $            9,300

Email Notice
   Create list for email, finalize content, implement email notice (60% of class)
                                                                           Estimated Emails:            56,400
                                                                                                                                                                     $            1,600
Mail Notice
    Format/quality review notice                                                                                                                       $      700
      Print and mail notice
                Estimated items mailed                                                                  94,000
                Printing/Materials/Mailing Services                                              $        0.24                    $          22,560
                                                                                                                                                       $    22,560

      Spanish translation of notice and claim form                                                                                $           1,800

      Track undeliverables; remail forwards                                                                                       $           2,750
                   Electronic Data Storage                                                                                                             $            6,000
                   Create project specific database; develop processing procedures                                                                     $            1,400
                     Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 86 of 91 Page
                                                                                             $   ID9,150
               Text Message Notice & Follow-up
                                                      #:14269
                   Perform notice via text message for initial notice and follow-up
                            Estimated Number of Class Members Receiving Text Messages (60%)                         56,400
                            Estimated Number of Texts per Class Member over Course of Project                             5
                            Estimated Total Number of Texts (over entire project)                                  282,000
                            Set-up                                                                            $        150               $      150
                            Monthly Charge                                                                    $         50               $    2,100
                            Per Text Charge                                                                   $      0.025               $    7,050
                                                                                                                                                       $            9,300
                                                                                                                                                                               $     9,300

               Email Notice
                  Create list for email, finalize content, implement email notice (60% of class)
                                                                                          Estimated Emails:          56,400
                                                                                                                                                                               $     1,600
               Mail Notice
                   Format/quality review notice                                                                                                        $              700
                   Print and mail notice
                             Estimated items mailed                                                                  94,000
                             Printing/Materials/Mailing Services                                              $        0.24              $   22,560
                                                                                                                                                       $           22,560

                   Spanish translation of notice and claim form                                                                          $    1,800

                   Track undeliverables; remail forwards                                                                                 $    2,750
                   Research undeliverables (skip-trace); remail                                                                          $   12,250

                                                                                                                                                       $           16,800
                                                                                                                                                                               $    40,060
               Follow-up Notice
                   Regularly provide follow-up notice to class members via email                                                                                               $     1,600

                   Regularly provide follow-up notice to class members via text message
                             Included in Text Message Notice & Follow-up, above

               Process Forms*
                   Process mailed forms                                                                       Estimated forms received       23,500
                                                                                                              Cost per form              $     2.95
                                                                                                                                                       $           69,325
                   Validate forms; final review; identify and resolve issues                                                                           $            8,750

                       *Online claim form processing will be $0.75 per claim                                                                                                   $    78,075
               Process Opt Outs
                   Process mailed opt-outs; validate forms; final review; identify and resolve issues
                                                                                                                                                                               $      250
               Distribute Benefits via Mailed Check
                   Calculate, review, and implement individual benefits                                                                                $            2,100
                   Establish QSF/Tax ID; account setup and management; reconciliation                                                                  $            3,500
                   Create check language; design, format checks; manage mailing                                                                        $              700
                   Printing and mailing costs
                             Estimated Items Mailed (over 3 Installments)                                            40,000
                             Printing/Materials/Mailing Services                                              $        0.33              $   13,200
                             Bank Processing                                                                  $        0.20              $    8,000
                                                                                                                                                       $           21,200
                   Research undeliverables (skip-trace); remail; reissue checks                                                                        $            5,000
                                                                                                                                                                               $    32,500
               Distribute Benefits via Electronic Payment
                   PayPal Payment                                                                                                                          2% of funds sent

                   Visa Prepaid CheckCard                                                                                                                             TBD

                                                                                                                                                           Sub-Total Fees $        271,890

               Expenses
                  Expenses included but not limited to postage, P.O. Box, NCOA, BRM processing charge, etc.
                  Postage is estimated and JND will obtain best possible presort discounted rate.                                                                              $    87,066
                                                                                                                                                      Sub-Total Expenses $          87,066

                                                                                                                                                 Total Fees & Expenses $           358,956

                                                                                                                                                                          SM
                                                                                                                                                              PriceLock        $   413,000




 Estimate - Amador v. Baca - 25% Updated
el: V1.0
          Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 87 of 91 Page ID
CLAIMS RATE - 35%                          #:14270
                                                                                                                                                                              Confidential
                                                                                                                                                                   Jennifer Keough - CEO
                                                                                                                                                                           (206) 919-5768
                                                                                                                                                               jennifer.keough@jndla.com

      Barrett S. Litt, Esq.| Kaye, McLane, Bednarski & Litt, LLP | blitt@kmbllaw.com
      Lindsay Battles, Esq.| Kaye, McLane, Bednarski & Litt, LLP | lbattles@kmbllaw.com
      Julia White, Esq.| Kaye, McLane, Bednarski & Litt, LLP | jwhite@kmbllaw.com
      Amador v. Baca


Assumptions and Notes:
1.    Assumes class size of 94,000
2.    Publication of notice in Prison Legal News and publication through social media
3.    Research and identify class members in custody of California Department of Corrections and Rehabilitation or county agencies (assumes 10% of class)
4.    Perform searches with TransUnion to find current addresses, email addresses, and mobile phone numbers for each class member (assumes 60% hit rate)
5.    Notice packet mailing via USPS to estimated 100% of class members (assumes 6-page Notice and 1-page Claim Form with BRM envelope)
6.    TransUnion search performed for undeliverable mail without forwarding address (assumes 60% hit rate)
7.    Email notice campaign to estimated 60% of class members
8.    Disseminate notice via text message to class members when mobile number is known and Court approved (assumes 60% of class members)
9.    Translation of notice and claim form into Spanish
10.   Undeliverable mail (assumes 33% rate) with forwarding address will be remailed and skip-tracing for the remainder
11.   Mail notices to those who were initially notified via email or text message if they have not filed a claim or opted-out within 30 days
12.   Includes regular email or text communication to class members regarding importance of filing a claim and cut-off date for consideration
13.   Toll-free number staffed with CSRs to respond to claimant questions (assumes 5% call rate and 5 min. per call)
14.   Interactive settlement website designed with mobile phone accessibility and online claim form submission capability
15.   Receive and process opt-outs
16.   Receive and process claims (assumes 35% filing rate or 32,900 claims filed)
17.   Payments will be issued in installments over 3 years, with a total of 40,000 checks issued
18    Payments will be issued via check or electronic payment option (assumes 40,000 checks/electronic payments)
19    Handle uncashed checks and check reissues
20    Includes reporting to Counsel
21    Assumes project duration of 42 months


                                                                                                                                                                          Cost Estimate
Project Management
    Interaction with counsel, status reports, supervision of project team, resolution of issues, court report
                                                                             Estimated Months:                42
                                                                                                                                                                      $           50,300
Case-Specific Website with Online Filing
   Develop and host pre-existing dedicated website with online claim filing capability
                                                                                                                                                                      $            5,000
Publish Notice
   Finalize notice content, coordinate placement                                                                                                         $     500
      Publish in Prison Legal News ; Facebook                                                                                                                 TBD
                                                                                                                                                                      $              500
Call Center
    Set up toll-free number and IVR menu, answer and document calls; monthly and per-minute charges
                                                                        Estimated Calls:          4,700
                                                                                                                                                                      $           36,750
Research Current Addresses, Email Addresses, and Mobile Phone Numbers
   Perform TransUnion search to identify current addresses, email addresses, and mobile numbers
            Total Searches Performed                                                                                                           94,000
            Per Search Charge (Returning Multiple Data Points)                                                                     $             0.07
                                                                                                                                                         $    6,345
                                                                                                                                                                      $            6,345
Identify & Contact Class Members in Current Custody
    Identify and contact class members in custody of California Department of Corrections and Rehabilitation
               Estimated number of class members currently in custody (10%)                                                                     9,400
               Number of Searches                                                                                                                 500
               Number of Minutes per Search                                                                                                          1
               Hourly Rate for Searches                                                                                            $               55
               Estimated Total for Searches                                                                                        $              460
                                                                                                                                                         $     460
                                                                                                                                                                      $              460

Database Management
    Class list clean-up; create mailing list                                                                                                             $    1,750
      Electronic Data Storage                                                                                                                            $    8,500
      Create project specific database; develop processing procedures                                                                                    $    1,400
                                                                                                                                                                      $           11,650

Text Message Notice & Follow-up                                                                                                                              Continued on Next Page
    Perform notice via text message for initial notice and follow-up
             Estimated Number of Class Members Receiving Text Messages (60%)                            56,400
             Estimated Number of Texts per Class Member over Course of Project                                5
             Estimated Total Number of Texts (over entire project)                                     282,000
             Set-up                                                                              $         150                     $              150
             Monthly Charge                                                                      $          50                     $            2,100
             Per Text Charge                                                                     $       0.025                     $            7,050
                                                                                                                                                         $    9,300
                                                                                                                                                                      $            9,300

Email Notice
   Create list for email, finalize content, implement email notice (60% of class)
                                                                             Estimated Emails:          56,400
                                                                                                                                                                      $            1,600
Mail Notice
    Format/quality review notice                                                                                                                         $     700
      Print and mail notice
                Estimated items mailed                                                                  94,000
                Printing/Materials/Mailing Services                                              $        0.24                     $           22,560
                                                                                                                                                         $   22,560

      Spanish translation of notice and claim form                                                                                 $            1,800
                  Class list clean-up; create mailing list                                                                                              $            1,750
                  Electronic Data Storage                                                                                                               $            8,500
                      Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 88
                  Create project specific database; develop processing procedures    $ of 91 1,400
                                                                                                Page ID
                                                                                                   $    11,650
                                                       #:14271
              Text Message Notice & Follow-up
                  Perform notice via text message for initial notice and follow-up
                           Estimated Number of Class Members Receiving Text Messages (60%)                            56,400
                           Estimated Number of Texts per Class Member over Course of Project                                5
                           Estimated Total Number of Texts (over entire project)                                     282,000
                           Set-up                                                                              $         150              $      150
                           Monthly Charge                                                                      $          50              $    2,100
                           Per Text Charge                                                                     $       0.025              $    7,050
                                                                                                                                                        $            9,300
                                                                                                                                                                               $     9,300

              Email Notice
                 Create list for email, finalize content, implement email notice (60% of class)
                                                                                           Estimated Emails:          56,400
                                                                                                                                                                               $     1,600
              Mail Notice
                  Format/quality review notice                                                                                                          $              700
                  Print and mail notice
                            Estimated items mailed                                                                    94,000
                            Printing/Materials/Mailing Services                                                $        0.24              $   22,560
                                                                                                                                                        $           22,560

                  Spanish translation of notice and claim form                                                                            $    1,800

                  Track undeliverables; remail forwards                                                                                   $    2,750
                  Research undeliverables (skip-trace); remail                                                                            $   12,250

                                                                                                                                                        $           16,800
                                                                                                                                                                               $    40,060
              Follow-up Notice
                  Regularly provide follow-up notice to class members via email                                                                                                $     1,600

                  Regularly provide follow-up notice to class members via text message
                           Included in Text Message Notice & Follow-up, above

              Process Forms*
                  Process mailed forms                                                                         Estimated forms received       32,900
                                                                                                               Cost per form              $     2.95
                                                                                                                                                        $           97,055
                  Validate forms; final review; identify and resolve issues                                                                             $           11,900

                      *Online claim form processing will be $0.75 per claim                                                                                                    $   108,955
              Process Opt Outs
                  Process mailed opt-outs; validate forms; final review; identify and resolve issues
                                                                                                                                                                               $      250
              Distribute Benefits via Mailed Check
                  Calculate, review, and implement individual benefits                                                                                  $            2,100
                  Establish QSF/Tax ID; account setup and management; reconciliation                                                                    $            3,500
                  Create check language; design, format checks; manage mailing                                                                          $              700
                  Printing and mailing costs
                            Estimated Items Mailed (over 3 Installments)                                              40,000
                            Printing/Materials/Mailing Services                                                $        0.33              $   13,200
                            Bank Processing                                                                    $        0.20              $    8,000
                                                                                                                                                        $           21,200
                  Research undeliverables (skip-trace); remail; reissue checks                                                                          $            5,000
                                                                                                                                                                               $    32,500
              Distribute Benefits via Electronic Payment
                  PayPal Payment                                                                                                                            2% of funds sent

                  Visa Prepaid CheckCard                                                                                                                               TBD

                                                                                                                                                            Sub-Total Fees $       305,270

              Expenses
                 Expenses included but not limited to postage, P.O. Box, NCOA, BRM processing charge, etc.
                 Postage is estimated and JND will obtain best possible presort discounted rate.                                                                               $    97,688
                                                                                                                                                       Sub-Total Expenses $         97,688

                                                                                                                                                  Total Fees & Expenses $          402,958

                                                                                                                                                                         SM
                                                                                                                                                               PriceLock       $   464,000


 st Estimate - Amador v. Baca - 35% Updated
odel: V1.0
  Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 89 of 91 Page ID
                                   #:14272




NOTICE PLAN
                                         NO. OF
    LOCAL NEWSPAPERS                                       AD UNIT SIZE          DIMENSIONS            TOTAL COST
                                       INSERTIONS
                                             1                2/3 Page         4.875”w x 9.75”h            $910

        Prison Legal News                    1               Half Page         4.875”w x 7.25”h            $730

                                             1                1/3 Page          3.625”w x 6.5”h            $530

                                                  DESCRIPTION:

Prison Legal News, a project of the Human Rights Defense Center, is an independent 72-page monthly magazine
that provides cutting edge review and analysis of prisoners' rights, court rulings and news concerning criminal
justice-related issues.




       INTERNET                        TARGET/DESCRIPTION                     IMPRESSIONS             TOTAL COST


                               Geo-targeting Los Angeles market;
                               Targeting Women 21+, with emphasis
                               on African Americans/Hispanics and
 Google Display Network
                               Household Income <$50K; Impressions               9,690,000               $38,760
         (GDN)
                               served in Newsfeed on Mobile devices for
                               an 8-week effort




                               Custom List: Estimated 56,400 class
                               member email addresses. Assume nearly
        Facebook                                                                  250,000                $5,000
                               half, or 25K, of the emails match with
                               Facebook accounts; 90-day campaign



                                                  DESCRIPTION:


Facebook is the most popular social network with over 200 million users nationwide. Targeted ads will appear in the
News Feed on mobile devices.
Case 2:10-cv-01649-SVW-JEM Document 395-4 Filed 10/31/19 Page 90 of 91 Page ID
                                 #:14273




HOURLY BILLING RATES
  POSITION/TITLE                                                  RATE

  Senior Executive                                              $ 395
  Executive                                                     $ 350
  Vice President                                                $ 300
  Senior Director                                               $ 250
  Director/Software Engineer                                    $ 190
  Assistant Director                                            $ 160
  Senior Project Manager/Senior Data Analyst                    $ 150
  Project Manager/Data Analyst/
  Helpdesk Administrator                                        $ 125
  Assistant Project Manager/
  Junior Data Analyst                                           $ 95
  Senior Associate                                              $ 85
  Associate                                                     $ 60
  Clerk                                                         $ 45
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      All services to be provided by JND Legal Administration (“JND”) are subject to the following terms and conditions:




1.   SERVICES: JND agrees to perform all services                     7.   DATA PRIVACY: JND Is committed to taking all
     necessary to complete the tasks outlined in the applicable            reasonable steps to ensure the security of all client and
     proposal or other documents or per its understanding                  claimant data entrusted to our care. We seek to protect
     about the Client assignment. Such Services do not in any              confidential data in all of our engagements, including this
     way constitute legal services or advice.                              one, regardless of the size of the matter or the amount of
                                                                           data at issue. Please see JND’s complete Privacy Policy
2.   PAYMENT: The Client agrees to pay JND for the Services                at www.jndla.com/privacy-policy regarding data collection
     as outlined in the Proposal or other agreement between                and use.
     the parties. Client agrees and understands that fees
     charged by JND may include mark-ups, commissions, or             8.   LIMITATION OF DAMAGES: JND is not responsible to
     other arrangements constituting potential profits to JND.             the Client for any special, consequential or incidental
     Client further agrees that the prices to be charged by JND            damages incurred by Client and any liability of JND to the
     were negotiated at arm’s length and that total fees are               Client shall not exceed the total amount billed to the Client
     estimates and that the actual amount charged may be                   for the particular Services that give rise to any loss.
     greater or lesser than the estimated amounts. JND
     reserves the right to increase its hourly rates annually.        9.   FORCE MAJEURE: If any event out of the reasonable
                                                                           control of JND prevents JND’s performance, such
3.   EXPENSES: JND shall also bill for all expenses                        performance shall be excused.
     reasonably incurred in connection with the Services.
     These expenses include but are not limited to postage,           10. NOTICE: Any notice required in connection with the
     FedEx, P.O. Box rental, travel, brokerage fees,                      Services shall be in writing and sent by registered mail or
     accounting fees, electronic storage ($0.006 per                      overnight courier. Such notice is deemed given if mailed
     image/record), and other items associated with the                   five days after the date of deposit in the U.S. mail, or if
     Services. JND may receive rebates or credits from                    sent by overnight courier, one business day after delivery
     vendors in connection with volume of work performed for              to such courier.
     all of its Clients. JND may also receive financial benefits
     from banks or other institutions based on settlement funds       11. GOVERNING LAW: This contract will be governed by
     on deposit. These credits/rebates/awards are solely the              and construed by the laws of the State of Washington.
     property of JND.
                                                                      12. ASSIGNMENT: This Agreement and the rights and
4.   BILLING: JND shall invoice clients every 30 days and                 obligations of JND and the Client shall inure to the benefit
     expect payment within thirty (30) days of receipt of                 of their successors and assigns, if any.
     invoices. Payment for postage and printing is due in
     advance of mailing.                                              13. TERMINATION: This Agreement may be terminated by
                                                                          the Client upon at least 30 days prior written notice to
5.   INDEPENDENT CONTRACTOR: JND is performing its                        JND. The Client’s obligation to pay for services or
     Services as an Independent Contractor and neither it                 projects in progress at the time of notice of withdrawal
     nor its employees shall be deemed to be employees of                 shall continue throughout the 30 day period. JND may
     the Client.                                                          terminate this Agreement (i) with 10 days prior written
                                                                          notice if the Client is not current in payment of charges or
6.   CONFIDENTIALITY: JND and the Client will each treat                  (ii) in any event, upon at least three months prior written
     as confidential any documents shared by one party with               notice to the Client. If Client terminates this Agreement,
     the other. JND does not convey to the Client any right in            JND shall have no obligation to release any information
     the programs, systems, or methodologies used or                      or documentation related to the applicable matter until
     provided by JND in the performance of this assignment.               JND has been paid in full.




                                                        JND Legal Administration
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                                           Phone 800.207.7160 / info@JNDLA.com / JNDLA.com
